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                                                                             FILED
                                                                  UNITED STATES DISTRICT COURT
                                                                       DENVER, COLORADO
                            UNITED STATES DISTRICT COURT                  3:58 pm, Oct 31, 2017
                                                                   JEFFREY P. COLWELL, CLERK
                            FOR THE DISTRICT OF COLORADO
                    17-cv-02611
Civil Action No. ___________________________

[UNDER SEAL],

      Plaintiffs,

v.

[UNDER SEAL],

      Defendants.




                                    COMPLAINT

                FILED IN CAMERA AND UNDER SEAL PURSUANT TO
                              31 U.S.C. § 3730(b)(2)


                        DOCUMENT TO BE KEPT UNDER SEAL
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No. ___________________________

UNITED STATES OF AMERICA, ex rel. DENNIS KOGOD,

       Plaintiffs,

v.

DAVITA, INC.,
DAVITA RX, LLC,
DVA LABORATORY SERVICES, INC., d/b/a DAVITA LABS,
TOTAL RENAL LABORATORIES, INC.,
RMS LIFELINE, INC., d/b/a LIFELINE VASCULAR ACCESS,
REGAL MEDICAL GROUP, INC., and
HERITAGE PROVIDER NETWORK,

       Defendants.




     COMPLAINT FOR VIOLATIONS OF THE FEDERAL FALSE CLAIMS ACT
                        [31 U.S.C. § 3729 et seq.]

     FILED IN CAMERA AND UNDER SEAL PURSUANT TO 31 U.S.C. § 3730(b)(2)

                                 JURY TRIAL DEMANDED


       Qui Tam Plaintiff-Relator Dennis Kogod, through his attorneys, on behalf of the United

States of America (the “Government,” or the “Federal Government”), for his Complaint against

Defendants DaVita, Inc.; DaVita Rx, LLC; DVA Laboratory Services, Inc., d/b/a DaVita Labs;

Total Renal Laboratories, Inc.; RMS Lifeline, Inc., d/b/a Lifeline Vascular Access (collectively,

the “DaVita Defendants” or “DaVita”); Regal Medical Group (“Regal”); and Heritage Provider

Network (“Heritage”) alleges, based upon personal knowledge, relevant documents, and

information and belief, as follows:


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I.     INTRODUCTION

       1.      This is an action to recover damages and civil penalties on behalf of the United

States of America arising from false or fraudulent records, statements, and claims made and

caused to be made by the DaVita Defendants, Regal, and Heritage (collectively, “Defendants”)

or their agents and employees in violation of the federal False Claims Act, 31 U.S.C. § 3729 et

seq. (“FCA”). Defendants have also failed to repay the United States for claims they know or in

the exercise of reasonable diligence should know are false, and they have conspired with others

to commit violations of the FCA.

       2.      This qui tam case is brought against Defendants for knowingly defrauding the

Federal Government in connection with government-sponsored healthcare programs.

       3.      As alleged in greater detail below, from at least 2005 to the present, the DaVita

Defendants have engaged in a wide-ranging series of fraudulent schemes related to their

provision of dialysis and related services to patients with End-Stage Renal Disease (“ESRD”).

The schemes have included:

               a) Paying illegal kickbacks to physicians to cause them to refer patients to the

                  DaVita Defendants for dialysis, laboratory, pharmacy, and other services;

               b) Engaging in a collusive kickback scheme with Fresenius Medical Care,

                  DaVita’s primary competitor in the dialysis market, related to referrals to

                  DaVita’s pharmacy business—DaVita Rx, LLC—and DaVita’s purchase of

                  dialysis supplies from Fresenius;

               c) Paying kickbacks to patients by routinely waiving patient coinsurance and

                  copay amounts regardless of financial need;




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               d) Billing government-funded healthcare programs for separately billable

                   laboratory services provided without a valid, signed physician prescription;

               e) Billing government-funded healthcare programs for prescription drugs that the

                   patient never picked up—in some cases because the patient was deceased

                   before the prescription was even filled.

       4.      DaVita, through its DaVita Medical Group division, and Defendants Heritage and

Regal (collectively, the “MA Defendants”) also have engaged in a fraudulent scheme with

respect to the Medicare Managed Care (“Medicare Advantage”) program. The MA Defendants

have paid kickbacks to physicians participating in the Medicare Advantage program to induce

those physicians to:

               a) Cause their patients to sign up for Medicare Advantage through the MA

                   Defendants’ physician groups, and to enroll in whichever Medicare

                   Advantage Plan gave the MA Defendants the greatest profit; and

               b) Inflate the risk-adjustment diagnosis codes the physicians submitted with

                   respect to care provided to their patients to improperly increase the

                   reimbursement the MA Defendants received from Medicare, via Medicare

                   Advantage plans.

       5.      DaVita also has improperly billed government-funded healthcare programs for

hospice services provided to patients who were not qualified for the program. Moreover, when

DaVita discovered through audits that improper billing had occurred, DaVita offered to repay the

government only a small portion of the amount DaVita knew it had overbilled.

       6.      As a result of these actions, Defendants have submitted and caused to be

submitted tens or hundreds of thousands of fraudulent claims to government-funded healthcare



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programs for healthcare services that were not performed as billed or were ineligible for

reimbursement because they were tainted by kickbacks or otherwise. Each such submission is a

false or fraudulent claim in violation of the FCA. Defendants have also purposefully refused to

repay or to fully repay the same healthcare programs for known overbilling. Each inappropriate

retention of an ill-gotten gain is a false or fraudulent claim in violation of the FCA.

        7.     Had the Government been aware of the falsity of these claims, it would not have

made the associated payments and it would have recovered any payments already made based on

them.

        8.     Through these schemes, Defendants have defrauded the United States of hundreds

of millions of dollars.

        9.     Defendants’ conduct alleged herein violates the FCA. The federal False Claims

Act was originally enacted during the Civil War. Congress substantially amended the Act in

1986—and, again, in 2009 and 2010—to enhance the ability of the United States Government to

recover losses sustained as a result of fraud perpetrated against it. The Act was amended after

Congress found that fraud in federal programs was pervasive and that the Act, which Congress

has characterized as the primary tool for combating government fraud, was in need of

modernization. Congress intended that the amendments would create incentives for individuals

with knowledge of fraud against the Government to disclose the information without fear of

reprisals or Government inaction, and to encourage the private bar to commit legal resources to

prosecuting fraud on the Government’s behalf.

        10.    The FCA prohibits, inter alia: (a) knowingly presenting (or causing to be

presented) to the Federal Government a false or fraudulent claim for payment or approval; (b)

knowingly making or using, or causing to be made or used, a false or fraudulent record or



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statement material to a false or fraudulent claim; (c) knowingly making, using, or causing to be

made or used, a false record or statement material to an obligation to pay or transmit money or

property to the Government, or knowingly concealing or knowingly and improperly avoiding or

decreasing an obligation to pay or transmit money or property to the Government; and (d)

knowingly conspiring to commit a violation of any of these provisions. 31 U.S.C.

§§ 3729(a)(1)(A)-(C), and (G). Any person who violates the FCA is liable for a civil penalty of

up to $11,000 for each violation committed on or before November 2, 2015—and currently up to

$21,916 for each violation committed after November 2, 2015, increasing with inflation—plus

three times the amount of the damages sustained by the United States. 31 U.S.C. § 3729(a)(1);

28 C.F.R. § 85.5.

        11.     For purposes of the FCA, a person “knows” a claim is false if that person: “(i) has

actual knowledge of [the falsity of] the information; (ii) acts in deliberate ignorance of the truth

or falsity of the information; or (iii) acts in reckless disregard of the truth or falsity of the

information.” 31 U.S.C. § 3729(b)(1). The FCA does not require proof that the defendants

specifically intended to commit fraud. Id. Unless otherwise indicated, whenever the words

“know,” “learn,” discover,” or similar words indicating knowledge are used in this Complaint,

they mean knowledge as defined in the FCA.

        12.     Under the FCA, “material” means “having a natural tendency to influence, or

capable of influencing, the payment or receipt of money or property.” 31 U.S.C. § 3729(b)(4).

        13.     The FCA allows any person having information about an FCA violation to bring

an action on behalf of the United States and to share in any recovery. The FCA requires that the

Complaint be filed under seal for a minimum of 60 days (without service on the defendant during




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that time) to allow the government time to conduct its own investigation and to determine

whether to join the suit.

       14.     Based on the foregoing laws, Qui Tam Plaintiff-Relator Dennis Kogod seeks,

through this action, to recover on behalf of the United States damages and civil penalties arising

from the false or fraudulent records, statements, or claims that the Defendants made or caused to

be made in connection with false or fraudulent claims, including fraudulently retained

overpayments, to government-funded healthcare programs.


II.    PARTIES

       15.     Relator Dennis Kogod (“Relator”) is a resident of Laguna Beach, California. He

is an experienced, senior healthcare executive who began working at DaVita in 2005, when

DaVita acquired Gambro Healthcare, Inc. At the time of the acquisition, Relator was President

and Chief Operating Officer of Gambro’s West Division. In his eleven years as an employee at

DaVita, Relator served in a series of positions of increasing responsibility, including President of

DaVita’s Western Division, Chief Operating Officer of DaVita’s Kidney Care division, and

Chief Operating Officer of DaVita’s HealthCare Partners division. Ultimately, from January

2016 through November 2016, Relator served as President of DaVita’s HealthCare Partners

division and Chief Executive Officer of International Business.

       16.     In November 2016, Relator was relieved of full-time employment and of his

primary operational role at DaVita by Chief Executive Officer Kent Thiry, in large part because

Relator had raised concerns regarding failures of leadership and compliance. He continues to

work for DaVita as a consultant.

       17.     Based on his executive-level position within DaVita, Relator has personal

knowledge that it was and continues to be DaVita’s pattern and practice to commit the acts


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alleged herein and submit claims as described below. He regularly attended board and senior

management meetings at which these fraudulent business practices were developed and

discussed, and he was privy to high-level conversations about them with the executive team at

DaVita. This access, combined with a close working relationship with CEO Kent Thiry,

provided Relator with personal knowledge of the practices alleged herein.

       18.     Defendant DaVita, Inc., is a for-profit, publicly-traded Fortune 500 company

incorporated in Delaware and headquartered in Denver, Colorado. The company consists of two

major operating divisions: DaVita Kidney Care (“Kidney Care”) and DaVita Medical Group

(“DMG,” formerly known as HealthCare Partners or “HCP”).

       19.     The Kidney Care division comprises DaVita’s U.S. dialysis and related lab

services, as well as various subsidiaries such as RMS Lifeline, Inc., d/b/a Lifeline Vascular

Access; DaVita Rx; DaVita Clinical Research; and DaVita Nephrology Services. DaVita’s

recently established international operations also fall within the Kidney Care division. DaVita,

through its Kidney Care division, is one of the largest kidney care companies in the United

States, providing dialysis services for patients suffering from ESRD.

       20.     As of December 2016, DaVita Kidney Care provided dialysis and administrative

services in the U.S. through a network of 2,350 outpatient dialysis centers in 46 states and the

District of Columbia, serving approximately 187,700 patients. DaVita Kidney Care’s dialysis

and related lab-care business accounted for approximately 62% of DaVita’s consolidated 2016

revenue.

       21.     As of December 31, 2016, approximately 88% of DaVita’s dialysis patients were

covered under some form of government-based program; 75% of its dialysis patients were

covered under Medicare or Medicare-assigned plans.



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       22.     DaVita Medical Group is an integrated healthcare delivery and management

company. As of December 31, 2016, DMG served approximately 749,300 members throughout

southern California, Colorado, central and south Florida, southern Nevada, Washington, and

central New Mexico through capitation contracts with group health plans. Until approximately

2016, DMG also served members in Arizona and Philadelphia.

       23.     Of these members, 305,200 were enrolled in Medicare and Medicare Advantage

plans, and the remaining approximately 444,100 were managed care members with health

coverage through an employer, through Medicaid, or who otherwise acquired individual health

coverage directly from a health plan.

       24.     Defendant DaVita Rx, LLC, is a for-profit corporation incorporated in Delaware

and headquartered in Coppell, Texas. It is a wholly owned subsidiary of DaVita. It specializes

in providing oral medications and medication-management services to patients with ESRD and

other chronic diseases, as well as providing non-dialysis drugs to a captive dialysis population.

       25.     Defendant DVA Laboratory Services, Inc., d/b/a DaVita Labs (“DaVita Labs”) is

a for-profit corporation incorporated in Florida and headquartered in Denver, Colorado. It is a

wholly owned subsidiary of DaVita. It is a separately incorporated, licensed clinical laboratory

that specializes in ESRD patient testing. The lab provides routine dialysis tests and other

physician-prescribed lab tests for ESRD patients.

       26.     Defendant Total Renal Laboratories, Inc., (“Total Renal”) is a for-profit

corporation incorporated in Florida and headquartered in Deland, Florida. It is a wholly owned

subsidiary of DaVita. It is a separately incorporated, licensed clinical laboratory that specializes

in ESRD patient testing. The lab provides routine dialysis tests and other physician-prescribed

lab tests for ESRD patients.



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        27.     Defendant RMS Lifeline, Inc., d/b/a Lifeline Vascular Access, (“Lifeline”) is a

 wholly owned DaVita subsidiary that develops and manages vascular access centers across the

 country for patients with ESRD. Lifeline enters into these financial arrangements primarily with

 DaVita Medical Directors and the referring physicians with the largest patient populations.

 Vascular access centers provide various procedures, such as angiograms, angioplasty, and vessel

 mapping. As of December 31, 2016, Lifeline wholly owned one vascular access clinic and was

 the majority-owner of nine others.

        28.     References herein to “DaVita” denote Defendant DaVita, Inc., and all of its

 subsidiaries, affiliates, and doing business as aliases, including those subsidiaries named

 independently as defendants.

        29.     Defendant Heritage Provider Network is a for-profit corporation incorporated and

 headquartered in California. Through a network of several medical groups, Heritage provides

 care to almost 500,000 members in the southern and central California regions. A substantial

 portion of those members are covered by Medicare Advantage plans. Medicare Advantage

 organizations pay Heritage a percentage of the premium they receive from Medicare in exchange

 for Heritage’s provision of care to plan members and coordination of the care provided by non-

 Heritage providers.

        30.     Defendant Regal Medical Group, Inc., is an independent physician association

 located in Southern California that contracts with Heritage to provide healthcare services to

 patients enrolled in a variety of health plans, including Medicare Advantage plans. Regal is one

 of Heritage’s largest affiliated physician groups.




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 III.   JURISDICTION AND VENUE

        31.     This Court has jurisdiction over the subject matter of this action pursuant to 28

 U.S.C. §§ 1331, 1345, and 1367(a), as well as 31 U.S.C. § 3732, the last of which specifically

 confers jurisdiction on this Court for actions brought under 31 U.S.C. §§ 3729 and 3730.

        32.     Under 31 U.S.C. § 3730(e), there has been no statutorily relevant public

 disclosure of the “allegations or transactions” in this Complaint. Even if there had been any such

 public disclosure, Relator is the original source of the allegations herein because he has direct,

 independent, and material knowledge of the information that forms the basis of this Complaint,

 and he voluntarily disclosed that information to the Government before filing.

        33.     This Court may exercise personal jurisdiction over Defendants pursuant to 31

 U.S.C. § 3732(a), as at least one of the Defendants can be found in, resides in, transacts business

 in, or has committed acts related to the allegations in this Complaint in the District of Colorado.

        34.     Venue is proper pursuant to 28 U.S.C. §§ 1391(b) and 1395(a), as well as 31

 U.S.C. § 3732(a), as at least one of the Defendants can be found in, resides in, or transacts

 business in the District of Colorado, and because many of the violations of 31 U.S.C. § 3729

 discussed herein occurred within this judicial district.


 IV.    LEGAL BACKGROUND

        A.      Federally-Funded Healthcare Programs

        35.     Various federal and state-funded healthcare programs pay for care provided by

 Defendants, including Medicare, Medicaid, and other Government-funded healthcare programs.

                1.      Medicare

        36.     Medicare is a federally funded health insurance program that provides for certain

 medical expenses for persons who are over 65, who are disabled, or who suffer from ESRD. The


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 Medicare program is administered through the Department of Health and Human Services,

 Centers for Medicare and Medicaid Services (“CMS”).

        37.     The Medicare program has four parts: Part A, Part B, Part C, and Part D.

 Medicare Part A (“Part A”), the Basic Plan of Hospital Insurance, covers hospital services and

 post-hospital nursing facility care. Medicare Part B (“Part B”), the Voluntary Supplemental

 Insurance Plan, covers services performed by physicians or certain other healthcare providers,

 such as services provided to Medicare patients by physicians, laboratories, and diagnostic testing

 facilities. See 42 U.S.C. §§ 1395k, 1395l, 1395x(s). Medicare Part C (“Part C”) provides for

 coverage under Medicare’s managed care plans. Medicare Part D (“Part D”) provides subsidized

 prescription drug coverage for Medicare beneficiaries.

        38.     Medicare reimburses healthcare providers for the costs of providing covered

 health services to Medicare beneficiaries. See 42 U.S.C. § 1395x(v)(1)(A).

        39.     Medicare pays providers only for services that it considers “reasonable and

 necessary for the diagnosis or treatment of illness or injury.” 42 U.S.C. § 1395y(a)(1)(A).

 Medicare regulations exclude from payment services that are not reasonable and necessary. See

 42 C.F.R. § 411.15(k). Providers who wish to participate in the Medicare program must ensure

 that their services are provided “economically and only when, and to the extent, medically

 necessary.” 42 U.S.C. §1320c-5(a)(1).

                       a.      Medicare Fee-for-Service Reimbursement

        40.     The traditional Medicare program is administered by private insurance companies

 that are contracted to act as Medicare Administrative Contractors. 42 U.S.C. §§ 1395h and

 1395u. They serve as agents of the Department of Health and Human Services (“HHS”), making

 payments on behalf of the program beneficiaries and providing other administrative services. Id.



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 These companies are called “carriers.” See 42 C.F.R. §§ 421.5(c). Through these carriers,

 Medicare establishes and publishes the criteria for determining what services are eligible for

 reimbursement or coverage. This information is made available to the providers who seek

 reimbursement from Medicare.

        41.     To bill Medicare Part A, a provider must submit an electronic or hard-copy claim

 form called the UB-04 (also known as the CMS 1450) to the appropriate Medicare carrier. To

 bill Medicare Part B, a provider must submit an electronic or hard-copy CMS-1500 form to the

 appropriate Medicare carrier.

        42.     These forms describe, among other things, the provider, the patient, the referring

 physician, the service(s) provided by procedure code, the related diagnosis code(s), the dates of

 service, and the amount charged. The provider certifies on the CMS-1500 claim form that the

 information provided is truthful and that the services billed on the form were “medically

 indicated and necessary.” The provider certifies in the UB-04 that “[s]ubmission of this claim

 constitutes certification that the billing information as shown on the face hereof is true, accurate,

 and complete.”

        43.     In addition, as part of enrollment and at every periodic re-evaluation, each

 Medicare provider must sign a provider agreement attesting that they agree to comply with all

 Medicare requirements including the fraud and abuse provisions. A provider who fails to

 comply with these statutes and regulations is not entitled to payment for services rendered to

 Medicare patients.

        44.     At all times relevant to this action, the carriers that reviewed and approved the

 claims at issue in this case based their review upon the enrollment information and claim




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 information provided by the Defendants, and relied on the veracity of that information in

 determining whether to pay the claims submitted by Defendants.

                       b.      The Medicare Advantage Program and Risk Adjustment
                               Payments

        45.     Traditional Medicare operates on a fee-for-service basis, meaning that Medicare

 directly pays hospitals, physicians, and other healthcare providers for each service they provide

 to a Medicare beneficiary.

        46.     In 1997, Congress created Medicare Part C, which provides similar benefits to

 Medicare members, but does so based on a managed care model, rather than the traditional fee-

 for-service model. Under Part C, rather than pay providers directly, Medicare pays organizations

 that operate private managed care plans (later named “Medicare Advantage” or “MA” plans) a

 capitation rate (i.e., a rate paid per member per month). Those plans are then responsible for

 covering the costs of paying providers for the services provided to members of that specific

 Medicare Advantage plan.

        47.     In 2003, Congress passed the Medicare Prescription Drug, Improvement, and

 Modernization Act, creating Medicare Part D, which provides prescription drug coverage.

 Although a limited number of Medicare Part D plans are operated under a cost-reimbursement

 contract, the plans are generally financed under a managed care model. These managed care

 model plans are provided under both Part D prescription drug plans, which offer only

 prescription drug coverage, and Part C plans, which integrate the prescription drug coverage with

 the Part C healthcare coverage.

        48.     This Complaint refers, collectively, to (1) Medicare Advantage plans with Part D

 coverage, (2) Medicare Advantage plans without Part D coverage, (3) stand-alone managed care




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 Medicare Part D Plans, and (4) the entities that offer and administer those plans, known as

 Medicare Advantage organizations, as “Medicare Advantage Plans.”

        49.     CMS pays Medicare Advantage Plans a monthly capitation rate that reflects,

 among other things, each member’s health status. The process of adjusting the capitation rate to

 reflect a member’s disease states is known as risk adjustment. Risk adjustment is intended to

 improve the accuracy of the payments CMS makes to these plans. To this end, CMS pays a

 higher rate for enrollees whom the Medicare Advantage Plan represents were treated for certain

 diseases and conditions in the previous year, based on the expectation that those enrollees will

 require treatment or management for the conditions in the year for which the Medicare

 Advantage Plan is being paid (known as the payment year). See 2008 Risk Adjustment Data

 Technical Assistance for Medicare Advantage Organizations Participant Guide (“Participant

 Guide”), at § 6.4.1 (for purposes of this Complaint, “treatment” is defined as treatment and

 management within the meaning of the Participant Guide).

        50.     Conversely, CMS pays a lower rate for enrollees who, although they may have

 certain typically expensive conditions, did not require care, treatment, or management for those

 conditions in the prior year. For these members, the risk adjustment methodology assumes that

 because their condition did not require treatment in the prior year, it has improved or otherwise

 changed so that it is not expected to require treatment in the payment year.

        51.     The CMS risk adjustment model evaluates enrollee health (and establishes risk-

 adjustment payment rates) using diagnosis classifications set forth in the International

 Classification of Diseases, Clinical Modification (“ICD”) system. Prior to October 2015, CMS

 used the 9th Edition of the ICD system—referred to as the ICD-9 system. Since October 2015,

 CMS has used the 10th Edition—ICD-10.



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        52.     The ICD system assigns each diagnosis a specific code, which is “used to describe

 the clinical reason for a patient’s treatment.” Participant Guide at § 6.2. Under the MA model,

 these individual diagnosis codes are organized into disease groups, called Hierarchical Condition

 Categories (“HCCs”). Medicare Managed Care Manual (“MMCM”), ch. 8, § 50. Every HCC

 consists of several ICD diagnosis codes that are clinically related and are expected to require a

 similar level of resources to treat. Id. Seemingly similar diagnoses may fall into different HCCs

 when they are expected to require significantly different levels of treatment.

        53.     CMS uses the same general model for the Part D portion of risk adjustment, but it

 created a distinct list of Hierarchical Condition Categories (here known as “RxHCCs”),

 reflecting the fact that different conditions may trigger higher costs under Part D. See

 Participant Guide at § 8.2.5.2.

        54.     Under Part C’s risk-adjustment payment feature, Medicare pays a Medicare

 Advantage Plan an average of approximately $3,000 extra for each additional HCC code

 assigned to a Medicare Advantage member for a year—although that number varies widely

 depending on which specific HCC is claimed. Under Part D, Medicare pays an average of

 several hundred dollars more for each RxHCC per member per year.

        55.     Under both Parts C and D, a Medicare Advantage plan may only submit a risk

 adjustment claim for a diagnosis that has been properly coded per ICD standards. See 42 C.F.R.

 § 422.310(d)(1) (risk adjustment data must conform to national standards); see also Participant

 Guide at § 7.1.5 (diagnoses must be “[c]oded in accordance with the ICD-9-CM Guidelines for

 Coding and Reporting”).




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         56.     In addition, a risk adjustment claim may only be submitted if the diagnosis meets

 four additional requirements. First, the diagnosis must have been treated or affected treatment

 provided to the patient during the visit at issue. See Participant Guide at § 6.4.1; pp. 7-13, 7-14.

         57.     Second, the diagnosis must have been treated (or affected treatment provided)

 during a face-to-face visit between the provider and the patient (unless the provider is a

 pathologist). See Participant Guide at § 7.1.4.

         58.     Third, the provider rendering the service must be of a qualified provider type or

 specialty. See Participant Guide at §§ 2.2.1, 3.1.4, 3.2, 4.3, 4.7, 4.11. CMS has enumerated the

 physician specialties that are an acceptable source of diagnoses for risk adjustment purposes.

 See id. at § 3.2.3. Certain non-physician professionals also are acceptable provider types for risk

 adjustment, including physical therapists, occupational therapists, and physician assistants. Id. at

 § 3.2.3.

         59.     Fourth, the service used as the basis for the risk adjustment claim must have

 occurred during the calendar year preceding the payment year. See Participant Guide at

 §§ 2.2.1, 6.4.1, 7.2.4.1; p. 7-11.

         60.     CMS also has offered specific additional guidance regarding certain practices or

 diagnoses known to be at particular risk of abuse, such as having a history of a certain condition,

 unconfirmed diagnoses, or “problem lists” that track diagnoses a patient has had in the past or

 that the treating provider believes the patient may have. Participant Guide at §§ 6.4.2, 6.4.3, 6-

 8, 7.2.4.1.

         61.     Medicare Advantage Plans must ensure the validity of the diagnoses and claims

 they submit. They are responsible for the content of their risk adjustment claims submissions to

 CMS, regardless of whether they submit the data themselves or through an intermediary.



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 Participant Guide at § 4.1. Before submitting data to CMS, Medicare Advantage Plans must

 filter the data “to ensure that they submit data from only appropriate data sources.” Id. at § 4.11.

 For example, Medicare Advantage Plans must confirm that physician data comes from face-to-

 face encounters with members and ensure that data does not come from non-covered providers,

 such as diagnostic radiology services. Id.

        62.     Medicare Advantage Plans also are required to correct the risk adjustment data

 they submit to CMS. When a Medicare Advantage Plan learns that information in a risk

 adjustment claim (i.e., HIC number, diagnosis code, service dates, or provider type) is invalid or

 non-compliant with CMS rules, it must submit a “delete record” to CMS for that claim.

 Participant Guide at § 4.13. Deletion of invalid diagnoses allows CMS to recalculate the

 beneficiaries’ risk scores and ensure that the Medicare Program does not make improper risk

 adjustment payments to Medicare Advantage Plans and that the Program recovers any improper

 payments that were already made.

        63.     CMS requires Medicare Advantage Plans to submit attestations, each signed by

 the CEO or CFO (or their authorized, direct subordinate), certifying the accuracy, completeness,

 and truthfulness of their risk adjustment submissions. Participant Guide at § 4.1. These

 attestations are not only required to be eligible to submit risk adjustment data, but they serve as

 the annual request for payment by the Medicare Advantage Plans for capitation payments from

 CMS. 42 C.F.R. § 422.504(l).

        64.     A new Medicare Advantage Plan (and any third-party submitters) must sign an

 Electronic Data Interchange (“EDI”) Agreement prior to submitting risk adjustment data to

 CMS. Participant Guide at § 4.1. The EDI Agreement is a “contract between the MA

 organization and CMS attesting to the accuracy of the data submitted.” Id. The Medicare



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 Advantage Plan attests on the Form “[b]ased on best knowledge, information, and belief,” that it

 will submit risk adjustment data that are accurate, complete, and truthful.

        65.     Additionally, the Medicare Advantage Plan must attest annually that the risk

 adjustment data it submits to CMS is “accurate, complete, and truthful.” 42 C.F.R.

 § 422.504(l)(1). The attestation by the Plan acknowledges that risk adjustment information

 “directly affects the calculation of CMS payments . . . and that misrepresentations to CMS about

 the accuracy of such information may result in Federal civil action and/or criminal prosecution.”

 Form Attestation of Risk Adjustment Data Information Relating to CMS Payment to a Medicare

 Advantage Organization. The regulations also provide that if the claims data are generated by a

 “related entity, contractor, or subcontractor of an MA organization,” that entity must similarly

 certify the “accuracy, completeness, and truthfulness of the data.” 42 C.F.R. § 422.504(l)(3).

        66.     The requirement that MA organizations submit accurate and truthful data to CMS

 and correct known errors in their submissions is crucial to their contract with CMS for payment

 because CMS does not, in the ordinary course, receive the medical records on which diagnoses

 are based. CMS therefore cannot tell from risk adjustment data alone whether a particular

 provider-reported diagnosis is properly supported. The submission to CMS of data that is false

 or inaccurate—because it reports diagnoses that are not supported by medical records—directly

 and necessarily causes CMS to make risk-adjustment payments it would not have made but for

 the submission of that false or inaccurate data. Similarly, the submission of “deletions” of

 previously-provided data that is false or inaccurate directly and necessarily causes CMS either to

 avoid paying for previously-submitted false or inaccurate diagnoses or to recover payments it

 made for those false or inaccurate diagnoses. As a result, an MA organization’s failure to submit

 “deletions” relating to diagnoses that it knows or discovers to be false or inaccurate directly



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 results in that MA organization’s retention of overpayments that CMS otherwise would recover.

 Thus, both the submission of false or inaccurate diagnosis data and the failure to submit

 corrections to such false or inaccurate diagnosis data influence or are capable of influencing

 CMS’s payment decisions, including CMS’s decisions concerning the payment amounts.

        67.     Medicare Advantage plans have an obligation to acquire knowledge, information,

 and belief about their risk adjustment data, including diagnoses, in order to both submit such data

 and attest to the accuracy and truthfulness of the data. Nearly 17 years ago, CMS put Medicare

 Advantage plans on notice that they were “responsible for making good faith efforts to certify the

 accuracy, completeness, and truthfulness of the encounter [i.e., risk adjustment] data submitted”

 for payments from the Medicare Program. 65 Fed. Reg. 40170 at 40268 (June 29, 2000)

 (emphasis added); see also Medicare Managed Care Manual, Chapter 7, at § 111.7 (February

 2004). When they fail to act in good faith and turn a blind eye to their submission of inaccurate

 or untruthful data, their Risk Adjustment Attestations are false.

        68.     Although an MA organization “maintains ultimate responsibility for adhering to

 and otherwise fully complying with all terms and conditions of its contract with CMS,” 42

 C.F.R. § 422.504(i)(1), entities to which an MA organization has delegated risk adjustment

 responsibilities must also “comply with all applicable Medicare laws, regulations, and CMS

 instructions,” id. at § 422.504(i)(4)(v).

                2.      Medicaid

        69.     Medicaid is a public assistance program providing for payment of medical

 expenses for low-income and disabled patients. Funding for Medicaid is shared between the

 Federal Government and those states participating in the program.




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        70.     Federal regulations require each state to designate a single state agency

 responsible for the Medicaid program. The agency must create and implement a “plan for

 medical assistance” that is consistent with Title XIX and with the regulations of the Secretary of

 HHS. Although Medicaid is administered on a state-by-state basis, the state programs adhere to

 federal guidelines. Federal statutes and regulations restrict the items and services for which the

 Federal Government will pay through its funding of state Medicaid programs.

        71.     Each provider that participates in the Medicaid program must sign a provider

 agreement with his or her state certifying that he or she will submit only claims for services that

 are medically necessary and for compensation to which the provider is legally entitled.

                3.      Other Government-Funded Healthcare Programs

        72.     The Federal Government administers other healthcare programs including, but not

 limited to, TRICARE/CHAMPUS, CHAMPVA, federal workers’ compensation programs, and

 the Federal Employees Health Benefits Program.

        73.     TRICARE/CHAMPUS, administered by the U.S. Department of Defense, is a

 healthcare program for individuals and dependents affiliated with the armed forces. 10 U.S.C.

 § 1071 et seq.; 32 C.F.R. § 199.4(a).

        74.     CHAMPVA, administered by the U.S. Department of Veterans Affairs, is a

 healthcare program for the families of veterans with 100 percent service-connected disability. 38

 U.S.C. § 1781 et seq.; 38 C.F.R. § 17.270(a).

        75.     The Federal Employees’ Compensation Act provides workers’ compensation

 coverage, including coverage of medical care received as a result of a workplace injury, to

 federal and postal employees. The Act is administered by the Department of Labor, Division of

 Federal Employees’ Compensation. 5 U.S.C. § 8101 et seq.; 20 C.F.R. § 10.0 et seq.



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         76.     The Federal Employees Health Benefits (FEHB) Program, administered by the

 United States Office of Personnel Management, provides health insurance for federal employees,

 retirees, and their survivors. 5 U.S.C. § 8901 et seq.; 5 C.F.R. § 890 et seq.

         B.      Federal Coverage of Treatment for ESRD

         77.     Chronic kidney disease is a progressive ailment that ultimately destroys the

 kidney’s ability to process and clean blood. The loss of kidney function is normally irreversible.

 ESRD is the stage of advanced kidney impairment that requires continued dialysis treatments or

 a kidney transplant to sustain life. Dialysis is the removal of toxins, fluids, and salt from the

 blood of ESRD patients by artificial means. Patients suffering from ESRD generally require

 dialysis at least three times per week for the rest of their lives.

         78.     Except in limited circumstances, Medicare provides benefits for patients with

 ESRD under Medicare Parts A and B. Individuals otherwise ineligible for Medicare become

 eligible when they develop ESRD.

         79.     Since 1972, the Federal Government has provided universal payment coverage for

 dialysis treatments under the Medicare ESRD program regardless of age or financial

 circumstances. Under this system, Congress establishes Medicare rates for dialysis treatments,

 related supplies, lab tests, and medications. Other government-funded healthcare programs and

 private insurance plans also routinely provide coverage for dialysis, either separately or in

 combination with a patient’s Medicare coverage.

         80.     Under the current ESRD Prospective Payment System (PPS), Medicare pays 80%

 of the CMS-determined amount for each covered dialysis treatment, and the patient is

 responsible for the remaining 20%. In most cases, a secondary payor—such as Medicare




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 supplemental insurance, a state Medicaid program, or a commercial health plan—covers all or

 part of the 20% balance.

        81.       For patients with Medicare coverage, all ESRD PPS payments for dialysis

 treatments are made under a single bundled payment rate that provides a fixed payment

 encompassing all goods and services provided during the dialysis treatment. The bundled

 payment rate is adjusted based on certain patient characteristics, geographic area, and certain

 other factors.

        82.       Over time, the bundled payment amounts are adjusted to reflect the aggregate cost

 of the services provided in the bundle. Thus, if the cost of the dialysate, equipment supplies, and

 other components of the bundle changes, CMS adjusts the bundled rate for subsequent years.

        83.       As of January 1, 2011, all drugs and biologicals, including Epogen, vitamin D

 analogs, and iron supplements used for the treatment of ESRD are included in the ESRD bundled

 payment. 42 U.S.C. § 1395rr.

        84.       Drugs and biologicals furnished to ESRD beneficiaries that are not used for the

 treatment of ESRD, however, may be paid separately by Medicare on a fee-for-service basis.

        85.       Similarly, as of January 1, 2011, all laboratory services furnished to individuals

 for the treatment of ESRD are included in the ESRD bundled payment.

        86.       Laboratory tests ordered for reasons other than for the treatment of ESRD,

 however, may be paid separately on a fee-for-service basis. In such cases, the provider may bill

 on a Medicare utilizing modifier AY, which serves as an attestation that the item or service is

 medically necessary for the patient but is not being used for the treatment of ESRD.

        87.       Additionally, to be separately payable under the AY modifier, all diagnostic

 laboratory tests must be “ordered by the physician who is treating the beneficiary,” i.e., “the



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 physician who furnishes a consultation or treats a beneficiary for a specific medical problem and

 who uses the results in the management of the beneficiary’s specific medical problem.” 42

 C.F.R. § 410.32(a).

        88.     To bill laboratory services to Medicare under the AY modifier, the provider must

 obtain the treating physician’s signed order (or a signed progress note that supports the

 physician’s intent to order) and documentation to support the medical necessity of the ordered

 service. See CMS Publication ICN 909221, “Complying with Documentation Requirements for

 Laboratory Services” (April 2015). Without proper documentation, the claims are considered

 improper by CMS and, if the Government is aware of the missing documentation, will not be

 paid, or they will be clawed back if already made.

        C.      Federal Coverage of Treatment for Hospice Care

        89.     Medicare will pay for what is known as “hospice care” for eligible Medicare

 recipients. To be eligible for hospice care paid by Medicare, an individual must be “terminally

 ill,” meaning that “the individual has a medical prognosis that his or her life expectancy is 6

 months or less if the illness runs its normal course.” 42 C.F.R. § 418.3.

        90.     Once admitted to hospice care, a Medicare recipient is no longer eligible for

 services that would help to cure his or her illness. Instead, the individual receives palliative care,

 which focuses on relieving the pain, symptoms, or stress of terminal illness and includes a

 comprehensive set of medical, social, psychological, emotional, and spiritual services.

        91.     Hospice is available to individuals for two initial 90-day periods, and then an

 unlimited number of 60-day periods, provided the individual’s terminal condition is certified in

 writing by a physician at the beginning of each period.




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        92.     To qualify for the initial 90-day period, the patient’s eligibility for hospice care

 must be certified by: (a) the Medical Director of the hospice or physician-member of the hospice

 inter-disciplinary group; and (b) the individual’s attending physician, if the individual has an

 attending physician. For subsequent periods, certification requires only one of the

 aforementioned physicians. 42 C.F.R. § 418.22.

        93.     The written certification must provide: (1) a statement that the patient’s life

 expectancy is six months or less if the terminal illness runs its normal course; (2) specific clinical

 findings and other documentation supporting a life expectancy of six months or less; (3) the

 signature(s) of the physician(s); (4) the physician’s brief narrative explanation of the clinical

 findings supporting a life expectancy of six months or less; and (5) evidence of a face-to-face

 encounter with the patient. 42 C.F.R. § 418.22; Medicare Benefit Policy Manual (“MBPM”),

 Chapter 9, § 20.1.

        94.     Hospices are paid a per diem rate by Medicare based on the number of days and

 level of care provided during the election period. 42 C.F.R. § 418.302; MBPM, Chapter 9, § 40.

 To be covered, hospice services must meet all of the following requirements:

        They must be reasonable and necessary for the palliation and management of the
        terminal illness as well as related conditions. The individual must elect hospice
        care in accordance with § 418.24. A plan of care must be established and
        periodically reviewed by the attending physician, the medical director, and the
        interdisciplinary group of the hospice program as set forth in § 418.56. That plan
        of care must be established before hospice care is provided. The services
        provided must be consistent with the plan of care. A certification that the
        individual is terminally ill must be completed as set forth in § 418.22.

 42 C.F.R. § 418.200.

        95.     Under the relevant regulations, it is a condition of participation that hospices must

 maintain a clinical record for each hospice patient that contains “correct clinical information.”




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 42 C.F.R. § 418.104. All entries in the clinical record must be “legible, clear, complete, and

 appropriately authenticated and dated…” 42 C.F.R. § 418.104(b).

        96.     Hospice medical records must include “clinical information and other

 documentation that support the medical prognosis” and “the physician must include a brief

 narrative explanation of the clinical findings that supports a life expectancy of 6 months or less

 as part of the certification and recertification forms.” 42 C.F.R. §§ 418.22(b)(2), (3).

        D.      Federal Coverage of Outpatient Prescription Drugs

        97.     Medicare primarily pays for outpatient prescription drugs through the Medicare

 Part D program, but a limited number of drugs are also covered through the Medicare Part B

 program.

        98.     Pharmacies that submit claims to Medicare for outpatient drugs (whether directly

 or through Part D prescription drug plans) must certify their compliance “with all applicable

 Federal laws, regulations, and CMS instructions”—including the federal Anti-Kickback Statute

 and Stark Law described below. See, e.g., 42 C.F.R. § 423.505(i)(3)(iv). The regulation further

 requires that they certify “(based on best knowledge, information, and belief) the accuracy,

 completeness, and truthfulness of all data related to payment.” 42 C.F.R. § 423.505(k)(1). This

 certification is required because the pharmacies do not submit to CMS the medical records that

 support claimed payments.

        99.     Medicare rules also require pharmacies to refund any payments from Medicare

 for erroneously dispensed prescriptions, including any time when pharmaceuticals are ordered

 for a patient who does not pick them up. See CMS Prescription Drug Event Guidance for Post

 Point-of-Sale Claim Adjustments (July 3, 2013) (requiring Part D payors to recoup the cost of an




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 erroneously dispensed drug from the dispensing pharmacy and to adjust the claim for payment

 from CMS accordingly).

        E.      Ambulatory Surgical Centers

        100.    Ambulatory Surgical Centers (“ASCs”) are healthcare facilities where patients

 may undergo surgeries and procedures outside of a hospital or emergency room setting. They

 are regulated by both federal and state laws. Part 416 of Title 42 of the Code of Federal

 Regulations contains the federal regulations governing ASCs.

        101.    ASCs began forming in the 1970s, as patients, physicians, and health insurers

 increasingly struggled with scheduling problems, lack of adequate equipment, other constrictions

 on control over their practices, and the soaring costs for procedures performed in hospitals.

        102.    Over time, the number of ASCs has skyrocketed. As recognized by the HHS

 OIG, ASCs can be more cost effective for surgeries than hospitals, and patients may prefer

 settings that are less intense than a hospital. OIG has explained:

                Our regulatory treatment of ASCs recognizes the [HHS] Department’s
                historical policy of promoting greater utilization of ASCs because of the
                substantial cost savings to Federal health care programs when procedures
                are performed in ASCs rather than in more costly hospital inpatient or
                outpatient facilities. . . . Safe harbor protection for ASCs derives in large
                measure from this longstanding policy encouraging freestanding ASCs as
                a less costly alternative to hospitals for appropriate surgeries.

 64 Fed. Reg. 63, 518, 63, 537 (Nov. 19, 1999).

        103.     Thus, ASCs can benefit both government healthcare programs and patients. See,

 e.g., OIG Advisory Opinion 98-12 (September 16, 1998) at 3.

        104.    ASCs also provide a way for physicians who own and perform procedures in

 them to increase their profits. Procedures performed at hospitals generate certain hospital fees

 (e.g., technical or facility fees) to which the surgeon, who typically receives only the professional



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 fee, would not be entitled. ASC facility services (e.g., nursing, technician, use of facility,

 administrative, materials, etc.), and ancillary items and services integral to surgical procedures

 trigger CMS payments that are additional to physicians’ services fees. If the surgeon has an

 ownership interest in the ASC, that surgeon recoups revenue from both his/her own professional

 fee along with the facility fee or technical fee that otherwise would have been paid to a hospital.

          105.      Medicare reimburses providers for procedures at ASCs properly enrolled pursuant

 to the CMS-855B Medicare Enrollment Application. In completing that application, ASCs

 expressly certify that they “agree to abide by the Medicare laws, regulations and program

 instructions” and certify that they “understand that payment of a claim by Medicare is

 conditioned upon the claim and the underlying transaction complying with such laws,

 regulations, and program instructions (including, but not limited to, the Federal anti-kickback

 statute . . .).”

          F.        Federal Anti-Kickback Statute and Stark Law

          106.      Congress has repeatedly taken action to combat kickbacks and other financial

 inducements in the healthcare decision-making process. The enactment of these various

 provisions and amendments demonstrates Congress’s commitment to the fundamental principle

 that federal healthcare programs will not tolerate the payment of kickbacks.

          107.      Two key laws addressing this problem are the Anti-Kickback Statute, 42 U.S.C.

 § 1320a-7b(b), and the Stark Law, 42 U.S.C. § 1395nn. Both prohibit, in broad strokes,

 payments to healthcare providers or others in exchange for their directing how and where

 patients receive healthcare services. Compliance with the Stark Law and Anti-Kickback Statute

 is a prerequisite to a provider’s right to receive or retain payments from Medicare, Medicaid, and




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 other federal healthcare programs. 42 C.F.R. § 422.504(h)(1); 42 U.S.C. §§ 1320a-7b(g),

 1395nn(g)(1), 1396b(s).

                1.      The Anti-Kickback Statute

        108.    The Medicare and Medicaid Fraud and Abuse Statute, known commonly and

 herein as the “Anti-Kickback Statute,” 42 U.S.C. § 1320a-7b(b) (“AKS”), was enacted under the

 Social Security Act in 1977. The Anti-Kickback Statute arose out of Congressional concern that

 payoffs to those who can influence healthcare decisions will result in goods and services being

 provided that are medically inappropriate, unnecessary, of poor quality, or even harmful to a

 vulnerable patient population. To protect the integrity of federal healthcare programs from these

 difficult to detect harms, Congress enacted a prohibition against the payment of kickbacks in any

 form, regardless of whether the particular kickback actually gives rise to overutilization or poor

 quality of care.

        109.    The Anti-Kickback Statute prohibits any person or entity from making or

 accepting “any remuneration (including any kickback, bribe, or rebate) directly or indirectly,

 overtly or covertly, in cash or in kind” to induce or reward any person for referring,

 recommending, or arranging for the purchase of any item or service for which payment may be

 made under a federally-funded healthcare program. 42 U.S.C. § 1320a-7b(b).

        110.    The Anti-Kickback Statute is quite broad in terms of the range of people affected,

 what constitutes a prohibited kickback, and the manner in which the kickback is connected to the

 Federally-funded medical service. The statute prohibits any person or entity from offering,

 paying, soliciting, or receiving any remuneration in exchange for referring, recommending or

 arranging for a patient to receive federally-funded healthcare services, including services

 provided under the Medicare and Medicaid programs. See id.



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         111.    Remuneration prohibited by the Anti-Kickback Statute includes “the transfer of

 anything of value.” OIG Advisory Opinion No. 12-13 (Nov. 5, 2013).

         112.    The Anti-Kickback Statute contains statutory safe harbors that exempt certain

 transactions, such as contracts for employment or personal services, from its prohibitions. A key

 theme that runs through these safe harbors is that payments to those in a position to make a

 referral must be established in advance and in writing, and any payments must be for fair market

 value—and exclude the value of any referrals for services that would be paid for by Medicare or

 Medicaid.

         113.    Even if the majority of an employee’s compensation is for the provision of

 legitimate professional covered services, to the extent that any portion of the payments made to

 an employee compensates that employee for making referrals of patients to a hospital or other

 provider, no safe harbor applies, and the Anti-Kickback Statute is violated.

         114.    Thus, for example, one type of financial arrangement about which HHS OIG

 specifically has expressed concern is the purchase of a physician practice by an entity that

 receives or is in a position to receive referrals from that practice. In a December 22, 1992,

 Opinion Letter, the HHS OIG cautioned that the purchase of a physician practice by a provider,

 “as a means to retain existing referrals or to attract new referrals . . . implicate[s] the anti-

 kickback statute because the remuneration paid for the practice can constitute illegal

 remuneration to induce the referral of business reimbursed by the Medicare or Medicaid

 programs.” OIG Opinion Letter (Dec. 22, 1992).

         115.    The letter further advised that, in order to determine whether the price paid for a

 physician practice included an illegal kickback: “it is necessary to scrutinize the payments

 (including the surrounding facts and circumstances) to determine the purpose for which they



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 have been made. As part of this undertaking, it is necessary to consider the amounts paid for the

 practice . . . to determine whether they reasonably reflect the fair market value of the practice . . .

 in order to determine whether such items in reality constitute remuneration for referrals.” Id.

 (emphasis in original).

        116.    Moreover, the letter cautioned, “[w]hen considering the question of fair market

 value, we would note that the traditional or common methods of economic valuation do not

 comport with the prescriptions of the anti-kickback statute. Items ordinarily considered in

 determining the fair market value may be expressly barred by the anti-kickback statute’s

 prohibition against payment for referrals.” Id. It further noted that, “when attempting to assess

 the fair market value . . . attributable to a physician’s practice, it may be necessary to exclude

 from consideration any amounts which reflect, facilitate or otherwise relate to the continuing

 treatment of the former practice’s patients. . . . Thus, any amount paid in excess of the fair

 market value of the hard assets of the physician practice would be open to question.” Id. The

 HHS OIG noted specific items that would “raise a question as to whether payment was being

 made for the value of the referral stream,” including, notably, “payment for goodwill” and

 “payment for covenants not to compete.” Id.

        117.    CMS also has specifically recognized the risk that joint ventures between “those

 in a position to refer business, such as physicians, and those providing items or services for

 which Medicare and Medicaid pays,” might run afoul of the Anti-Kickback Statute. U.S. Dep’t

 of Health & Human Servs., Office of the Inspector Gen., Special Fraud Alert (Dec. 19, 1994).

 Such joint ventures “may be intended not so much to raise investment capital legitimately to start

 a business, but to lock up a stream of referrals from the physician investors and to compensate

 them indirectly for these referrals.” Id. Hallmarks of such suspect joint ventures include



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 choosing physician investors “because they are in a position to make referrals” and offering

 “physicians who are expected to make a large number of referrals greater investment opportunity

 in the joint venture than those anticipated to make fewer referrals.” Id.

        118.    The Anti-Kickback Statute applies not only to payments to providers in a position

 to refer business, but to patients themselves. For example, when a government healthcare

 program such as Medicare or Medicaid requires a patient to make a co-payment for a service,

 routine waiver of that co-payment by a provider, without consideration of a patient’s ability to

 pay, may operate as an illegal inducement under the Anti-Kickback Statute. See U.S. Dep’t of

 Health & Human Servs., Office of the Inspector Gen., Special Fraud Alert (Dec. 19, 1994)

 (stating that co-payment waivers “must not be used routinely; [they] should be used occasionally

 to address the special financial needs of a particular patient”).

        119.    As explained by the OIG, “[r]outine waiver of deductibles and copayments by

 charge-based providers, practitioners or suppliers is unlawful because it results in (1) false

 claims, (2) violations of the anti-kickback statute, and (3) excessive utilization of items and

 services paid for by Medicare.” U.S. Dep’t of Health & Human Servs., Office of the Inspector

 Gen., Special Fraud Alert (Dec. 19, 1994).

        120.    The prohibition on payment of kickbacks is material to the United States.

 Medicare and other federal health programs will not pay claims if they are aware that they are

 tainted by kickbacks.

        121.    Compliance with the Anti-Kickback Statute is a precondition to participation as a

 healthcare provider under the Medicare and Medicaid programs. 42 C.F.R. § 422.504(h)(1).

 Accordingly, either pursuant to provider agreements or claim forms, or in some other appropriate

 manner, hospitals, physicians, pharmacies, and others who participate in federal healthcare



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 programs generally must certify that they have complied with the applicable federal rules and

 regulations, including the Anti-Kickback Statute. Id.

        122.    Moreover, claims for reimbursement for services that are tainted by kickbacks

 constitute false claims under the False Claims Act. 42 U.S.C. § 1320a-7b(g).

        123.    Any party convicted under the Anti-Kickback Statute must be excluded (i.e., not

 allowed to bill for services rendered) from federal healthcare programs for a term of at least five

 years. 42 U.S.C. § 1320a-7(a)(1). Even without a conviction, if the Secretary of HHS finds

 administratively that a provider has violated the statute, the Secretary may exclude that provider

 from the federal healthcare programs for a discretionary period (in which event the Secretary

 must direct the relevant state agencies to exclude that provider from the state health program),

 and may consider imposing administrative sanctions of $50,000 per kickback violation. 42

 U.S.C. § 1320a-7(b).

        124.    The Anti-Kickback Statute has been on the books and well known to healthcare

 providers since 1972; it has also been strengthened by Congress on multiple occasions. In 1977,

 Congress passed the Medicare-Medicaid Anti-Fraud and Abuse Amendments, making AKS

 violations a felony. P.L. 95-142, 91 Stat. 1175 (Oct. 25, 1977), codified as 42 U.S.C. § 1320a-

 7b. As a House Report stated: “In whatever form it is found, fraud in these health care financing

 program[s] … cheat[] taxpayers who must ultimately bear the financial burden of misuse of

 funds in any government-sponsored program. It diverts from those most in need, the nation’s

 elderly and poor. . . . The wasting of program funds through fraud also further erodes the

 financial stability of those state and local governments whose budgets are already overextended .

 . . ” H. Rep. 95-393, 95th Cong., 1st Sess. at 44, reprinted in 1977 U.S.C.C.A.N. 3039, 3047.

 The Medicare and Medicaid Protection Act of 1987 mandated exclusions for those convicted of



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 program-related kickbacks and broadened the Secretary’s authority to exclude providers from the

 program for fraud, kickbacks, and other abuses. S. Rep. 100-109, 100th Cong., 1st Sess. at 1-2,

 reprinted in 1987 U.S.C.C.A.N. 682, 682-683.

        125.    Through the AKS, the government expressly discourages the potential corrupting

 effect that payments for referrals might have on patient-care decisions. The law provides that “a

 claim that induces items or services resulting from a violation of [the AKS] constitutes a false or

 fraudulent claim for purposes of [the FCA],” a provision intended to clarify “that all claims

 resulting from illegal kickbacks are considered false claims for the purpose of civil actions under

 the False Claims Act[.]” 155 Cong. Rec. S10854.

        126.    Noncompliance with the AKS by Medicare providers is not minor or

 insubstantial. The United States regularly prosecutes violations of the AKS. The criminal nature

 of AKS violations highlights the importance to the government of compliance with its

 provisions. The government does not pay for government health-care-program claims that are

 the product of AKS criminal conduct, and to submit such a claim for reimbursement effectively

 asks the government to fund criminality retroactively, a result that would be proscribed by the

 Anti-Kickback Statute. 42 U.S.C.S. § 1320(a)-7b(b). The government does not get what it

 bargained for when a defendant is paid for services tainted by a kickback. Compliance with the

 AKS therefore factors into the government’s reimbursement decision. Moreover, CMS

 payment-form 1500 and ASC Medicare enrollment form CMS-855B identify compliance with

 the AKS as a requirement for the provider to bill Medicare, further demonstrating the materiality

 of AKS-compliance to the payment of claims.




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                2.         The Stark Law

        127.    Similar to the AKS, but more targeted, the Stark Law prohibits any healthcare

 provider from submitting claims to Medicare or Medicaid for payment based on patient referrals

 for specific “Designated Health Services” from physicians who have an improper “financial

 relationship” (as defined in the statute) with the provider. 42 U.S.C. § 1395nn(a)(1); see also

 42 U.S.C. § 1396b(s) (extending Stark to Medicaid).

        128.    As of January 1, 1995, Stark applied to patient referrals by physicians with a

 prohibited financial relationship for the following twelve “designated health services” (“DHS”):

 (1) inpatient and outpatient hospital services; (2) physical therapy; (3) occupational therapy; (4)

 radiology; (5) radiation therapy (services and supplies); (6) durable medical equipment and

 supplies; (7) parenteral and enteral nutrients, equipment and supplies; (8) prosthetics, orthotics,

 and prosthetic devices and supplies; (9) outpatient prescription drugs; (10) home health services;

 (11) clinical laboratory services; and (12) outpatient speech-language pathology services. See

 42 U.S.C. § 1395nn(h)(6).

        129.    Therefore, a physician is prohibited from making referrals for any DHS for

 patients covered by Medicare or Medicaid to an entity with which he or she has a prohibited

 financial relationship.

        130.    The Stark Law broadly defines prohibited financial relationships to include any

 “direct or indirect compensation arrangement . . . with an entity that furnishes DHS.” 42 C.F.R.

 § 411.354(a)(1). An entity “furnishes” DHS if it has performed or billed for any services that are

 DHS. 42 C.F.R. § 411.351.

        131.    As with the Anti-Kickback Statute, the Stark Law provides narrow safe harbor

 protections for some arrangements in which a physician is paid by an entity to which he or she



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 sends referrals, including, among others, a safe harbor for remuneration not tied to the volume or

 value of any referrals made by the physician. See, e.g., 42 C.F.R. § 411.357(c) (safe harbor for

 “bona fide employment relationship”); id. § 411.357(d) (safe harbor for “personal services

 arrangement”); id. § 411.357(c)(4) (safe harbor for “productivity bonuses”); id. § 411.357(l)

 (catch-all safe harbor); id. § 411.357(p) (safe harbor for indirect compensation arrangements).

        132.    Even fixed compensation is prohibited when it takes into account the volume or

 value of referrals or other business generated by a referring physician. This is the case when the

 payment is in some way related to the volume of historical or expected referrals. See United

 States ex rel. Drakeford v. Tuomey Healthcare Sys., 675 F.3d 394, 408 (4th Cir. 2012); United

 States ex rel. Singh v. Bradford Reg’l Med. Ctr., 752 F. Supp. 2d 602, 631 (W.D. Pa. 2010);

 69 Fed. Reg. 16054, 16059 (Mar. 26, 2004) (fixed aggregate compensation prohibited when it,

 e.g., “exceeds fair market value for the items or services provided or is inflated to reflect the

 volume or value of a physician’s referrals or other business generated”).

        133.    There are also special compensation provisions for physician members of “group

 practices” as defined by the Stark Law. 42 C.F.R. § 411.352. Physicians in group practices can

 be compensated through profit shares and productivity bonuses, but only insofar as these

 payments are not calculated in any manner directly related to the volume or value of the

 physician’s referral of DHS. 42 C.F.R. § 411.352(i). The requirements for a physician group to

 qualify as a “group practice” are extensive and must be met precisely for these compensation

 methodologies to be available.

        134.    Significantly, the “group practice” rules protect from Stark Law scrutiny only

 referrals from physician group members to other members of the group or the group itself. The

 “group practice” rules do not protect referrals to a hospital or other non-group entity. Thus, the



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 Stark Law is implicated if a provider pays physicians who are members of a group (either

 directly, or indirectly by way of payments to the group that are then funneled to the individual

 physicians) any amounts that vary with or take into account the volume or value of the referrals

 from the physician to the provider. See 66 Fed. Reg. 856, 869 (Jan. 4, 2001) (compensation to

 physicians may “not vary with or otherwise reflect either referrals to the group (to comply with

 the employee exception) or referrals to, or other business generated for, the hospital (so that it

 does not qualify as an indirect compensation relationship).”).

          135.   Providers may not bill Medicare or Medicaid for any DHS furnished as a result of

 a prohibited referral, and the government may not make a payment for DHS provided in

 violation of Stark. See 42 U.S.C. §§ 1395nn(a)(1)(B), (g)(1); 1396b(s).

          136.   Similarly, if a person collects payments billed in violation of the Stark Law, that

 person must refund those payments on a “timely basis,” defined by Medicare regulations as not

 to exceed 60 days. See 42 U.S.C. § 1395nn(g)(2); 42 C.F.R. § 411.353(d); 42 C.F.R. §

 1003.101.

          137.   Additionally, violations of the Stark Law may subject the physician and the

 billing entity to exclusion from participation in federal healthcare programs and various financial

 penalties, including: (a) a civil money penalty of up to $15,000 for each service included in a

 claim for which the entity knew or should have known that the payment should not be made; and

 (b) an assessment of three times the amount claimed for a service rendered pursuant to a referral

 the entity knows or should have known was prohibited. See 42 U.S.C. §§ 1395nn(g)(3), 1320a-

 7a(a).




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 V.      ALLEGATIONS

         138.    As alleged below, from at least 2005 to the present, the DaVita Defendants have

 engaged in a diverse series of fraudulent schemes through their provision of dialysis and related

 services to patients with ESRD, including paying illegal kickbacks and improperly billing for

 laboratory services and prescription drugs. Through the DaVita Medical Group division, the

 DaVita Defendants also have falsely billed Medicare for medically unnecessary hospice services.

         139.    The MA Defendants have engaged in a fraudulent scheme by paying kickbacks to

 physicians participating in the MA program to increase referrals and inflate diagnosis codes to

 increase the capitation payments the defendants receive from Medicare.

         A.      DaVita Pays Kickbacks to Physicians, Competitors, and Patients to Secure
                 Referrals for Dialysis, Pharmacy, and Other Services

         140.    DaVita has paid numerous types of illegal kickbacks to secure a steady flow of

 referrals to its dialysis centers, as well as to its laboratory and pharmacy businesses, in violation

 of the AKS and the Stark Law.

                 1.      Kickbacks to Physicians

         141.    DaVita’s dialysis business is almost entirely dependent on referrals from

 nephrologists who practice near DaVita’s dialysis centers. To attract and retain referral sources,

 DaVita has engaged in an ongoing pattern of providing sweetheart deals in connection with the

 construction of dialysis centers and vascular access centers to physicians in a position to refer

 patients to DaVita facilities.

         142.    These improper inducements violate the AKS or the Stark Law. Accordingly, any

 claims for services resulting from these kickback-tainted referrals are false claims within the

 meaning of the FCA.




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                       a.      Kickbacks to Help Referring Physicians Build and Operate
                               Vascular Access Centers

        143.    DaVita’s subsidiary RMS Lifeline, Inc., d/b/a Lifeline Vascular Access

 (“Lifeline”), develops and manages Vascular Access Centers (“VACs”) that provide vascular

 procedures, primarily to dialysis patients. At its peak, Lifeline operated approximately 75 VACs

 pursuant to management and administrative services agreements.

        144.    VACs are lucrative for doctors to own, but they are expensive to build. The costs

 of construction and necessary equipment are approximately $1.5 million for an average VAC.

        145.    DaVita provides financial support to nephrologists who refer or are in a position

 to refer a substantial number of patients to DaVita’s dialysis centers to build VACs. To reward

 these high-referring physicians, DaVita offers them financial inducements in the form of: (1)

 favorable financial terms to finance the physician’s investment in the VAC; (2) variable

 “royalty” and “management fee” deals that reflect the volume of referrals; and (3) loan

 forgiveness in the event the VAC becomes unprofitable.

        146.    The loans DaVita offers its chosen doctors contain terms that are far better than

 those available in the open market. For example, many loans are for 100% of the construction

 value of the VAC, with no down-payment requirement. Such a term would not be available from

 a market lender.

        147.    DaVita also approves loans while either ignoring or having very low standards for

 creditworthiness. Some of the doctors who receive loans would not qualify with a market lender,

 particularly without a down payment.

        148.    Further, the only “repayment” requirement for the loans is through DaVita’s

 management agreements with the doctors. Lifeline manages the VACs for the physician owners,

 who pay a royalty rate ranging from 7 to 25%. Remarkably, this royalty rate is not based on the


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 difficulty of managing the center. Instead, the rate is set based on DaVita’s determination of the

 value of the partnering doctor’s dialysis referral stream; doctors with larger referral streams

 receive the best rates. Moreover, although DaVita reduces its management fees whenever

 Medicare reimbursements rates decrease, DaVita never raises its fees when those rates increase.

 DaVita also sometimes renegotiates rates in the middle of the loan term to provide an additional

 incentive to doctors who threaten to refer their dialysis patients elsewhere.

        149.    DaVita offers these better-than-market loans only to doctors with a certain

 minimum number of referrals. This minimum is analyzed and changed each year to ensure that

 the loans are used as incentive bonuses to retain the most valuable referral sources. Notably,

 many of the doctors selected also serve as dialysis center Medical Directors and are already

 highly compensated by DaVita.

        150.     On at least one occasion, DaVita suspended this loan program due to pressure

 from its compliance side. Ultimately, after pressure from the “business side,” DaVita restarted it.

 During the period when DaVita was not funding loans for VACs, it tried to use its influence with

 banks to secure favorable loans for its valuable doctors, underscoring the efforts DaVita made to

 provide remuneration to its referral sources.

        151.    On several occasions, unprofitable VACs were closed by the operating doctors,

 including in Puerto Rico and elsewhere. This occurred particularly in 2016, when Medicare

 reimbursement rates changed to make procedures performed in VACs less profitable than those

 performed in ASCs. In several such cases, DaVita made no attempt to collect the unpaid balance

 of the loan and instead wrote it off over time.

        152.    In other cases, DaVita purchased 60% of a VAC to turn it into an ASC. When it

 did so, DaVita paid substantially more than fair market value. Moreover, sometimes the



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 operating doctors still had outstanding loan balances with DaVita at the time of this purchase; as

 part of the purchase, DaVita was able to reduce or eliminate these outstanding balances, thus

 providing additional value to the doctor(s).

        153.    Further, DaVita annually evaluates each VAC to determine whether it is more

 profitable to perform any given vascular procedure in a Medicare-certified ASC or a practice-

 based, fee-for-service VAC. In some cases, DaVita games the system by claiming to operate

 under the same roof both an ASC co-owned by DaVita and a practice-based VAC. DaVita then

 steers patients to whichever setting—in the same building—provides the highest reimbursement

 rate for any given procedures. This “hybrid” arrangement, which is designed to finesse higher

 reimbursements from Medicare, violates the regulatory safe-harbor that permits physicians to

 own ASCs. See 42 C.F.R. § 1001.952.

        154.    DaVita provides the further benefit of free marketing to its targeted physicians

 who open VACs by using its personnel in the DaVita dialysis clinics to encourage patients to use

 a Lifeline VAC.

        155.    DaVita offers and provides physicians these favorable terms and other significant

 financial benefits in connection with these VACs with the intent to induce referrals. These

 financial arrangements are precisely the types of remuneration that CMS warned against in its

 guidance concerning problematic joint ventures. The financial arrangements are designed “not

 so much to raise investment capital legitimately to start a business, but to lock up a stream of

 referrals from the physician investors and to compensate them indirectly for these referrals.”

 U.S. Dep’t of Health & Human Servs., Office of the Inspector Gen., Special Fraud Alert (Dec.

 19, 1994).




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                        b.      Payments to Johns Hopkins Nephrologists

         156.   In a similar vein, for over a decade, DaVita has been providing illegal

 remuneration to physicians practicing with the Johns Hopkins University School of Medicine by

 first giving them, and then “buying back,” rights of first refusal to place medical directors in new

 DaVita dialysis clinics.

         157.   In 2005, DaVita acquired Gambro Healthcare, Inc., then one of the largest dialysis

 providers in the United States and Relator’s employer. At that time, Johns Hopkins’

 nephrologists largely, if not exclusively, sent their patients to Gambro facilities for dialysis,

 laboratory and related services. Upon DaVita’s acquisition, it was unclear if the Johns Hopkins

 physicians would use DaVita’s facilities or transition to one of DaVita’s competitors.

         158.   To induce Johns Hopkins’ physicians to refer their dialysis patients to DaVita,

 DaVita built the foundation for an illegal kickback scheme into their renewal contract with Johns

 Hopkins. Specifically, DaVita provided the Nephrology Department at Johns Hopkins with the

 right of first refusal (“RFR”) to place any of its physicians as the medical director in any new

 DaVita dialysis facility in a wide geographic region, not limited to Hopkins’ then-current market

 area.

         159.   DaVita gave Johns Hopkins these RFRs essentially for free—the terms of the

 contracts were already favorable to Johns Hopkins before the RFRs were added. In fact, on

 numerous occasions, Relator has heard DaVita executives state “how rich” the deal was for

 Johns Hopkins and express surprise that the deal “was able to make it through compliance.”

 Accordingly, on information and belief, Relator alleges that the deal with Johns Hopkins

 contained additional “sweetheart” terms, above and beyond the RFRs, intended to reward Johns

 Hopkins for its continued referrals to DaVita’s facilities.



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        160.    DaVita provided these RFRs even though it knew that Johns Hopkins had no

 desire to expand its clinical footprint beyond the Baltimore area, and it thus had no reason to

 expect that Johns Hopkins would exercise the RFR. Nonetheless, in at least a half a dozen

 instances when DaVita has sought to open a new clinic in Maryland, the company has

 approached Johns Hopkins to “buy back” the RFR for approximately $75,000.

        161.    DaVita CEO Kent Thiry personally negotiated the 2005 arrangement with Johns

 Hopkins.

        162.    In 2016, Johns Hopkins severed its ties with DaVita, opting instead to form joint

 ventures with Fresenius Medical Care. On information and belief, Relator alleges that Thiry

 unsuccessfully offered Hopkins significant, and illegal, monetary inducements in an attempt to

 persuade Hopkins to continue sending its valuable referrals to DaVita.

        163.    By paying Johns Hopkins to refer patients to its dialysis clinics—in the guise of

 offering free “rights of first refusal” and then buying them out—DaVita has knowingly violated

 the federal Anti-Kickback statute’s prohibition on monetarily inducing referrals for federally-

 funded healthcare services.

        164.    These payments to Johns Hopkins also violated the Stark Law, as they induced

 John Hopkins physicians to refer their patients to DaVita to receive DHS such as labwork and

 prescription drugs.

                2.      Collusive Kickback Arrangement with Fresenius Concerning
                        DaVita Rx and Dialysis Supplies

        165.    DaVita’s use of kickbacks and illegal financial inducements to ensure a steady

 stream of referrals is not limited to the more traditional payments to referring physicians. In fact,

 DaVita has engaged in substantial kickback-tainted transactions with Fresenius, its largest

 competitor.


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        166.    Fresenius Medical Care is a for-profit healthcare group that provides products and

 services for dialysis, hospitals, and outpatient medical care around the world.

        167.    Fresenius Medical Care and DaVita Kidney Care are the two largest dialysis

 providers in the United States. In 2016, Fresenius served approximately 184,000 dialysis

 patients while DaVita served approximately 181,000 patients; in contrast, the third largest

 dialysis provider, U.S. Renal Care, served approximately 24,000 patients.

        168.    Another significant line of business for Fresenius is the sale of dialysis

 equipment, drugs, and supplies to other dialysis providers, including DaVita.

        169.    In approximately late 2012 or early 2013, DaVita and Fresenius entered into an

 arrangement whereby Fresenius agreed to make DaVita Rx’s non-dialysis drugs available to its

 dialysis patients and, in some circumstances, to encourage or pressure its dialysis patients to use

 DaVita Rx.

        170.    In exchange, DaVita provided Fresenius with two significant financial

 inducements. First, DaVita agreed to enter into longer contracts to purchase Fresenius dialysis

 products, which are largely paid for by Medicare as part of the dialysis bundle.

        171.    Second, DaVita agreed to purchase nine of Fresenius’s European dialysis

 clinics—five in Portugal and four in Poland. At the time of the purchases, European antitrust

 regulators were scrutinizing Fresenius’s European holdings and Fresenius was receiving pressure

 to divest from certain assets, but it could not find anyone to purchase its troubled clinics.

        172.    DaVita’s illegal kickbacks paid off. After DaVita entered into the arrangement,

 DaVita Rx’s revenues nearly doubled due to increased referrals from Fresenius.

        173.    In offering and providing remuneration to Fresenius, DaVita intended to and did

 induce Fresenius to refer its dialysis patients to DaVita Rx. This inducement and DaVita



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 subsequently seeking reimbursement from government payors for drugs obtained by these

 Fresenius-referred patients violate the federal Anti-Kickback Statute and the Stark Law. As

 discussed above, those laws prohibit the provision of anything of value—here, DaVita’s promise

 to purchase more dialysis equipment and its purchase of nine European dialysis clinics—to

 induce referrals for items or services, including outpatient prescription drugs under the Stark

 Law. As previously noted, the FCA defines as false any claims submitted for reimbursement

 that are tainted by kickbacks.

        174.    In another example of the improper relationship between DaVita and Fresenius, in

 or around late 2007, DaVita’s Kent Thiry engaged in direct negotiations with Fresenius’s CEO

 Rice Powell concerning the price DaVita paid Fresenius for certain dialysis drugs. Powell

 objected to giving DaVita a direct discount on these drugs, arguing that doing so would lead

 Medicare to reduce the bundled dialysis payment in subsequent years. Instead, Powell offered to

 mask the drug discount by giving DaVita a steep discount on its purchases of Fresenius-

 manufactured dialysis equipment, such as machines, dialyzers, and bloodlines. In essence,

 Fresenius maintained an inflated price for dialysis drugs by subsidizing DaVita’s drug purchases

 through the provision of discounts on equipment.

        175.    The drugs at issue are reimbursed by Medicare as part of the ESRD bundled

 payment. Because Medicare re-prices the ESRD bundle each year based on the historic rates

 paid by providers for the bundle’s components, DaVita and Fresenius’s quid pro quo fixed the

 bundle’s price at an artificially high point, thereby causing Medicare to reimburse dialysis

 providers at an unlawfully inflated rate.




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                 3.     Illegal Kickbacks to Patients: Improper Waiver of Patient Payment
                        Obligations

        176.     In addition to kickbacks to doctors and competitors, DaVita also pays illegal

 kickbacks in the form of co-payment waivers to patients to encourage them to pick DaVita over

 its competitors.

        177.     DaVita improperly waives patient co-payment and co-insurance obligations

 without determining that collecting the amounts would cause the patient an undue financial

 hardship (as required by Medicare rules). Even when DaVita does not write off these patient

 obligations up front, it deliberately fails to take reasonable steps to collect the amounts later,

 essentially waiving the patients’ requirement to pay.

        178.     For example, DaVita Rx regularly waives the otherwise-required patient co-pays

 to induce patients to use its prescription services. DaVita Rx either waives the co-pays upfront

 or sends letters to patients stating that the co-pays are owed, but makes no bona fide effort to

 collect them.

        179.     Similarly, DaVita Kidney Care routinely waives the required co-payments for its

 dialysis services, again without assessing a patient’s financial need. In fact, DaVita Kidney Care

 has not even created a system for tracking dialysis patients who have failed to make required co-

 payments, let alone an effective mechanism for collecting those debts.

        180.     DaVita waives or fails to pursue collection of copayments deliberately to attract

 and retain patients. DaVita’s leadership has often discussed that engaging in co-payment

 collection efforts could drive its dialysis patients to its primary competitor, Fresenius.




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        B.      DaVita Medical Group, Heritage, and Regal Use Kickbacks to Induce
                Physicians to Refer Medicare Advantage Patients to Them, and They Engage
                in Illegal Upcoding

        181.    The MA Defendants DMG, Heritage, and Regal provide care to hundreds of

 thousands of patients who are enrolled in Medicare Advantage plans. Medicare Advantage plans

 receive capitation payments from Medicare to facilitate the provision of medical care to plan

 enrollees. The MA Defendants, in turn, contract with Medicare Advantage plans to provide this

 care to plan enrollees; in exchange, the MA Defendants receive a significant portion of the

 capitation payments directed to the Medicare Advantage plan by Medicare. As a result, when

 the MA Defendants treat a patient enrolled in a Medicare Advantage plan with which they have

 contracted, the MA Defendants are able to functionally bill Medicare for all or substantially all

 of the medical care provided to the patient.

        182.    The MA Defendants have each engaged in two practices that result in the

 fraudulent submission of claims to Medicare through the Medicare Advantage plans.

        183.    First, the MA Defendants have each engaged in a kickback scheme concerning

 the Medicare Advantage program that is becoming increasingly common in the industry. Under

 this scheme, they provide primary care physicians serving a large population of Medicare

 Advantage patients with substantial financial inducements to cause those physicians to steer their

 Medicare Advantage patients to the MA Defendants.

        184.    Detailed further below, the MA Defendants provide the physicians—who have

 substantial influence over their patients’ choice of a Medicare Advantage plan—with up-front

 cash payments, ongoing bonuses, valuable information technology assistance, and other valuable

 consideration. In exchange, the doctors refer patients to Medicare Advantage plans with which




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 the MA Defendants have contracted—thus giving the MA Defendants the right to receive the

 majority of Medicare’s payments for the patient’s medical care.

        185.    This fraudulent scheme is barred by the AKS, which prohibits giving anything of

 value to induce or reward any person for referring, recommending, or arranging for the purchase

 of any item or service for which payment may be made under a federally-funded healthcare

 program. 42 U.S.C. § 1320a-7b(b).

        186.    Second, as discussed further below, the MA Defendants also use their influence

 over the physicians to fraudulently inflate the patients’ risk adjustment scores, an illegal practice

 known as upcoding that increases the capitation rates Medicare pays for those patients.

                1.      The Kickback Scheme

        187.    Through the Medicare Advantage program, Medicare pays health plans a fixed

 capitation rate, calculated per member per month, to cover all of the medical care needed by each

 Medicare Advantage member. This capitation rate has two primary components: (1) the base

 rate is set considering demographic factors such as age, gender, and location of the member; and

 (2) an additional amount is paid based on the member’s health status through a process known as

 “Risk Adjustment.”

        188.    Many Medicare Advantage plans sub-contract a significant portion of the

 responsibility for managing patient care to large provider groups such as DMG, Heritage, and

 Regal. Typically, the Medicare Advantage plans pay the provider group a percentage (often

 85%) of the total capitation payment the Medicare Advantage plan receives from Medicare.

        189.    Under these sub-capitation contracts, the MA Defendants become responsible for

 providing all of the medical care the member needs—either directly through their own provider




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 networks or by contracting with third-party physicians, hospitals, or other providers to provide

 the care.

         190.    DMG, for example, provides medical care through both models. Through a group

 model, DMG employs directly (where permitted by state law) or through associated physician

 groups, approximately 700 primary care physicians. Through its “Independent Physician

 Association” (IPA) model, DMG contracts with a network of more than 2,500 associated groups

 and other network primary care physicians who provide care for DMG members in an

 independent office setting. To complement these physicians, DMG also contracts with several

 thousand network specialists and approximately 200 network hospitals that provide specialty or

 institutional care to patients.

         191.    Through the sub-capitation process, whenever a Medicare Advantage plan

 member commits to using a doctor employed by or affiliated with an MA Defendant as their

 primary care physician (“PCP”), the MA Defendant has functionally secured the right to bill

 Medicare (in the form of the sub-capitation payment received by the MA Defendant from the

 Medicare Advantage plan) for all of that member’s medical care. In general, the right to receive

 the sub-capitation payment goes to whichever physician or physician group is designated the

 Medicare Advantage member’s PCP.

         192.    By way of example, assume that Patient A is a member of Humana’s Medicare

 Advantage plan, and has selected Dr. Smith as her PCP. If Dr. Smith is employed by DMG, and

 Humana has a sub-capitation arrangement with DMG, then DMG will receive a portion (e.g.,

 85%) of the capitation rate Humana receives from Medicare every month to provide care to

 Patient A. Similarly, assume that Patient B is also a member of a Humana Medicare Advantage

 plan, but his PCP is Dr. Jones, who belongs to a mid-sized regional Independent Physician



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 Association. If the IPA agrees to contract with DMG, then DMG will receive 85% of Humana’s

 capitation rate for providing care to Patient B—and the right to control who provides medical

 care to Patient B.

         193.    When one of the MA Defendants hires a physician or secures his or her

 affiliation, they typically receive all or nearly all of that physician’s patients, because patients

 tend to be more loyal to their PCP than to any insurance plan or large provider network.

         194.    This influence over their patients, coupled with the structure of the capitation

 contracts, means that PCPs provide a lucrative referral stream that can be captured by the MA

 Defendants. For example, for the year ended December 31, 2016, 83% of DMG’s operating

 revenue, or $3.431 billion, was derived from multi-year capitation contracts with health plans.

 Of this, $2.537 billion came from Medicare or Medicare Advantage plans and $193 million came

 from Medicaid managed care plans.

         195.    Accordingly, the MA Defendants target PCPs with a substantial number of

 Medicare Advantage patients, in order to increase the number of Medicare Advantage plan

 members under the MA Defendants’ care. The MA Defendants are fully aware—indeed, they

 intend—that this tactic, in turn, allows them to secure the members’ lucrative capitation rates

 through sub-capitation contracts with the relevant Medicare Advantage plans.

         196.    For example, in an August 5, 2013, presentation titled “HCP Growth Tracks:

 Volume to Value Business Model Discussion,” DMG’s executive leadership set forth the various

 criteria for determining which physicians to pursue. Foremost among them was the requirement

 that “the potential geographic market(s) in which [the] group/IPA exists . . . should have [a] high

 probability of ≥ [10,000] MA risk lives and/or [50,000] commercial risk lives in 3 years or less.”

 Additionally, the “specific group/IPA being considered” for acquisition or affiliation should be



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 “PCP [Primary Care Physician] dominant.” As noted, patients—and their associated capitation

 payments—tend to follow their PCPs

        197.    Likewise, in July 2014, the leadership of DMG’s Florida Division discussed a

 presentation slide deck titled “Project Lightning.” The deck set forth plans to expand DMG’s

 presence in Orlando—a “growing market” with “255,000 Medicare eligible” and “44% Medicare

 Advantage penetration.” More specifically, the deck provided an update on DMG’s proposed

 acquisition of Family Physicians Group (FPG), the “largest employed medical group in [the]

 Orlando area with ~30k MA [Medicare Advantage] members.”

        198.    Similarly, Relator received an email on October 9, 2014, from Bill Palmer, HCP’s

 Vice President of Business Development, regarding the acquisition of the Everett Clinic in the

 Seattle, Washington area. Using bold font, Palmer emphasized the clinic’s “97 PCPs” and “10k

 MA” lives. As to the Seattle market more broadly, Palmer highlighted “136k MA enrolled; 375k

 MA eligible; 36% penetration of which 85% is HMO.”

        199.    To induce these targeted physicians serving a significant number of Medicare

 Advantage members to join or affiliate with them, the MA Defendants provide a range of

 improper inducements, including offering large sign-on or retention bonuses or paying an

 inflated price to buy a physician’s practice.

        200.    For example, during a July 31, 2015, presentation titled “IPA Region 1 Long-term

 exclusive contract / Doc Relations,” DMG’s executive leadership team discussed the terms of its

 “exclusive contract offering” for southern California physicians. At the time, DMG was

 renegotiating these physicians’ five-year contracts and wanted the physicians to remain affiliated

 with DMG and have exclusive use of the DMG network. The presentation grouped the region’s

 DMG-contracted physicians into one of three tiers, with each tier expressly defined by the



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 number of seniors (i.e., Medicare recipients) under the physicians’ care: “Platinum” providers

 served “>200 seniors”; “Gold” providers served “100-200 seniors”; and “Silver” providers

 served “<100 seniors.” In turn, the presentation proposed offering exclusivity “signing bonuses”

 to providers that corresponded to their tier classification—$40,000 for Platinum, $20,000 for

 Gold, and $10,000 Silver. The presentation explained that “exclusive physicians have larger

 panels with [DMG]”—in other words, exclusive physicians drive more Medicare Advantage

 patients and their associated capitation payments to DMG.

        201.    Defendant Heritage Provider Network has paid even higher kickbacks to

 physicians to obtain their exclusive affiliation and their Medicare Advantage business. Heritage

 regularly has offered $100,000 to $200,000 bonuses to physicians in exchange for their

 agreement to affiliate exclusively with one of Heritage’s provider networks, defendant Regal

 Medical Group, and thus bring their valuable stables of patients to their company. DaVita has

 attempted to compete with these bonuses in order to keep or secure valuable referral sources.

        202.    Although Relator is not an insider at Heritage or Regal, he has substantial

 information about their business practices with respect to physician compensation and Medicare

 Advantage, because physicians with offers of bonuses from Heritage and Regal often will come

 to DMG to attempt to secure even higher kickbacks. Indeed, such physicians routinely provided

 DMG with copies of their Heritage or Regal contracts, which offered lucrative sign-on bonuses

 in exchange for exclusively affiliating with them (and thus sending them their Medicare

 Advantage patients). As a result, Relator has had the opportunity to review numerous examples

 of the types of improper inducements offered by defendants Heritage and Regal. At least one

 former Heritage executive also left to work for DaVita.




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        203.    Both Heritage and DMG prefer, when a physician is amenable, to acquire the

 physician’s practice outright and then employ the physician directly or through an affiliated

 medical group. When they do so, both Heritage and DMG routinely pay well in excess of the

 fair market value for the physicians’ practices to obtain their employment and access to their

 Medicare Advantage patients. Paying beyond fair market value with the intent to induce referral

 business paid by government healthcare programs constitutes an illegal kickback under the AKS.

        204.    The MA Defendants also provide financial incentives—through direct bonuses,

 enhanced capitation payments that increase their compensation, or otherwise—to physicians to

 cause them to convince patients who are not enrolled in Medicare Advantage plans to join such

 plans and to steer those patients who are already enrolled towards the Medicare Advantage plan

 that provides the MA Defendant the best financial terms. The relative profitability of any given

 Medicare Advantage plan varies based on the sub-capitation rate the MA Defendant is able to

 negotiate with each plan. To encourage its physicians to steer patients into the most lucrative

 plans, DMG regularly informs its affiliated and employed physicians of the relative sub-

 capitation payments DMG receives from the various Medicare Advantage plans with which it

 contracts. For instance, DMG has told its affiliated physicians that “every patient who switches

 from Humana to United results in an extra $27 PMPM [per member, per month] payment.”

        205.    As an example of what results from this pressure, during Medicare’s open

 enrollment periods, when patients can switch plans, DMG physicians often tell their patients

 (falsely) that they might stop seeing patients enrolled in certain Medicare Advantage plans—i.e.,

 those plans that do less for DMG’s bottom line—to convince patients to enroll in plans that

 generate higher sub-capitation payments for DMG.




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        206.    To ensure that patients are willing to follow their physicians’ advice about plan

 enrollment, DMG has launched a “know your physician program” directed at shifting patient

 loyalties from their Medicare Advantage plan to their DMG-affiliated or employed primary care

 physician.

        207.    DaVita also pays illegal kickbacks to physicians by waiving the normal fees for

 the use of DaVita’s electronic health record (“EHR”) system in order to induce some IPA

 physicians to affiliate exclusively with DMG. Purchasing or leasing an EHR system can cost

 thousands of dollars, rendering access to a free, pre-existing system extremely valuable. The

 OIG has expressly warned that the “provision of software or information technology to a referral

 source should be scrutinized for compliance with the Federal anti-kickback statute.” OIG Alert,

 OIG Policy Reminder: Information Blocking and the Federal Anti-Kickback Statute (Oct. 6,

 2015). OIG has carved out a safe harbor for the donation of EHR systems to physicians under

 certain circumstances, but DMG does not meet its terms, because it conditions the free use of its

 EHR system on a physician’s willingness to affiliate exclusively with, and thus refer patients

 exclusively to, DMG. See 42 C.F.R. § 1001.952(y)(4).

        208.    In 2015, DMG informed IPA physicians receiving free access to the EHR system

 that they would be charged $200 per month going forward. When numerous doctors

 complained, rather than risk losing their exclusive affiliation and their valuable patients, DMG

 devised a new scheme whereby these physicians would ostensibly provide “IT expertise” to

 DMG in exchange for continued free use of the EHR system. These IPA doctors, who were

 mostly located in California, did not actually provide “IT expertise” in any form, nor did they

 perform any other work to compensate DMG for its continued provision of free EHR access.




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        209.    Finally, DMG also provides physicians with valuable patient populations (i.e.,

 Medicare-eligible populations) a substantial financial benefit by allowing them to retain revenue

 derived from unsupported risk adjustment claims that have been subsequently deleted by the

 Medicare Advantage plan. Even though DMG repays the Medicare Advantage plan for the

 deleted claims (to the extent that DMG received, e.g., 85% of the increased capitation payment

 caused by the unsupported, and thus false, claim), DMG typically does not claw back the extra

 revenue the physicians received due to the false claim.

        210.    For example, in 2014, DaVita learned that its physicians had broadly misapplied

 an “E-code” for reaction to spinal puncture. E-codes are secondary codes used to provide

 information about a patient’s primary diagnosis code; they are typically used to help explain an

 injury. As a result of this misapplication, DaVita submitted approximately $140 million worth of

 false claims to the government.

        211.    Based on this information, DaVita repaid the affected Medicare Advantage plans

 (and thus the United States), but it did not require its doctors to reimburse DaVita from the funds

 they had received as a result of the misapplied codes. In July 2014, Prati Batal, the president of

 DMG’s California market, authored a presentation titled “DHCP Monthly Dashboard: CA

 Market.” One slide, “RADV-Risk Adjustment Data Validation,” states: “Payment Recovery . . .

 unsure if or how payment recovery will be passed on to provider groups.” To ensure that its

 physicians would continue billing their Medicare Advantage services to the DMG network,

 DaVita elected not to claw back the doctors’ unlawfully obtained gains, instead letting the

 doctors retain them as additional, unwarranted compensation (and sending the message that

 fraudulent billing would only have an upside for them).




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        212.    In brief, DMG compensates its employed and affiliated physicians in a manner

 designed to induce them to channel Medicare Advantage patients, and their corresponding

 capitation payments, to DMG, in violation of the Anti-Kickback Statute. Federally insured

 patients are not numbers on a balance sheet; they are individuals entitled to make informed

 healthcare decisions untethered to the bottom-line of any given provider. The Anti-Kickback

 Statute was designed to protect quality of care, by ensuring that doctors were not swayed by

 financial matters, but DaVita has flaunted both the statute and the idea that patients’ care should

 come first.

                2.      Upcoding Risk Adjustment Scores and Claims

        213.    As part of its fraudulent Medicare Advantage scheme, DMG also has exerted

 substantial pressure on its physicians to inflate the diagnoses for which they purport to have

 treated their Medicare Advantage patients in order to inflate the risk-adjustment payments they

 claimed for these patients.

        214.    As a result, DMG has submitted and caused the submission of (by the patient’s

 Medicare Advantage plan) these claims for risk adjustment payments even though it knew, or in

 the exercise of reasonable care should have known, that the claims were based on (1) diagnoses

 for which patients had not been treated in the prior year in a face-to-face visit with an appropriate

 provider type, (2) diagnoses that the patient did not actually receive, or (3) diagnoses that are

 otherwise disqualified under CMS risk adjustment rules.

        215.    DMG routinely submits claims based on patient visits that did not involve

 providing any medical care, but instead were conducted simply to allow DMG to secure higher

 risk adjustment payments by claiming the patients had been “treated” in the calendar year. As

 discussed above, a diagnosis code submitted to CMS without the patient’s having been treated



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 for the condition in a face-to-face encounter in the prior year is not eligible for a risk adjustment

 payment.

        216.    For example, DMG created a home visit program targeting its Medicare

 Advantage members in Las Vegas, Nevada. DMG hired a home visit company to offer

 “comprehensive coding visits” to these patients. These visits were conducted exclusively for the

 purpose of capturing diagnosis codes that otherwise would not have been captured, because the

 patients had not seen a physician.

        217.    DMG neither offered nor provided medical care in these visits, and no follow-up

 care occurred. This was the case even though the purpose of risk-adjustment payments from the

 government is to compensate the provider for the additional care that should be provided to treat

 the risk-adjusted conditions. Because there is such a strong incentive to increase the payments

 from CMS without providing care is exactly why compliance with the applicable laws and

 regulations that combat fraud, waste, and abuse is mandated as an essential part of the agreement

 with CMS.

        218.    Internally, DMG referred to its home visit program as a “Patient Outreach

 Campaign.” The campaign created “target pursuit lists”—i.e., patients it believed were

 susceptible to “coding improvement”—and DMG Nevada provided “weekly progress tracking”

 updates to senior leadership, including Relator, that documented the number of home visits

 completed with “targets” (elderly patients) of both DMG employed and affiliated physicians.

        219.    DMG used this home visit company despite knowing that many of the diagnoses

 it submitted were false. When DMG hired a third-party auditor to review the diagnoses

 submitted based on this program, the audit showed that 37% of the diagnoses submitted based on




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 these visits did not meet the standards required by CMS rules and thus were invalid to submit to

 CMS as the basis for increased risk adjustment payments.

         220.   Home visits conducted exclusively to increase risk scores are not confined to

 DMG’s Nevada operations. In California, for instance, DMG implemented a similar program

 called “Seniors Without Visits” (SWV). The goal of the program was to ensure that every

 Medicare Advantage patient had at least one face-to-face visit with a DMG provider each year

 for the purpose of increasing risk adjustment scores—and, critically, not for the purpose of

 treating any of the conditions identified. An internal spreadsheet from May 2013, “HCP CA: 3

 Year Growth Strategy,” explained the need to “maximize HCC scores for non-engaged providers

 and staff” and insisted that “[e]very region needs to have an SWV program.”

         221.   DMG is so focused on funneling these “members without visits” into a setting

 where their diagnoses can be “captured” that it offers the members illegal kickbacks to persuade

 them to visit their doctors. The point of these visits is not for the patients to receive additional

 care, but for DMG to increase its risk adjustment payments by “treating” the patient for a

 condition for which DMG can subsequently seek a risk adjustment payment. To induce these

 medically pointless visits, DMG routinely offers and rewards patients with cash equivalents such

 as gas cards, credit card vouchers, and even debit cards with cash balances. Notably, DMG does

 not provide similar incentives to encourage patients to visit their doctors for follow up care or

 annual physicals if DMG has already “captured” that member’s risk adjustment diagnoses for the

 year.

         222.   DMG is aware that its providers regularly submit erroneous diagnosis

 information, particularly as to diagnoses that are frequently miscoded. Yet it performs almost no

 quality-review work to ensure the accuracy of the diagnosis codes it submits to CMS for risk



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 adjustment payments, even though it simultaneously conducts extensive reviews of patient charts

 to capture additional diagnoses that physicians may not have coded.

        223.    DMG employs full-time staff to review patient charts to ensure the

 “completeness” of the coding (i.e., to capture all codes that appear in the charts), but it does not

 instruct these reviewers to check the accuracy of previously submitted diagnoses. Such one-way

 quality control is impermissible. See 65 Fed. Reg. 40170 at 40268.

        224.    Similarly, DMG built audit capabilities into its EHR system to capture missed

 diagnoses, but it did not use these same capabilities to check submissions for unsupported

 diagnoses.

        225.    As internal documents demonstrate, DMG views risk adjustment as a profit

 center, not as a means to improve clinical outcomes for its patients. Indeed, although there was

 internal discussion of adding a follow-up clinical care initiative to treat patients for any

 legitimate conditions that were coded as a result of these visits, no such steps were ever taken.

        226.    An April 2014 presentation slide deck, “HCP Planning and Analysis,” lists HCCs

 as a “key metric.” The deck then lists the “percent of MA Patients with no HCC,” “Average

 Number of HCC Categories per MA Patient,” and “Chronic Condition Recapture Rate” among

 the metrics for evaluating the “HCC Team.”

        227.    In another 2014 deck, “HCP Holdings 2014 Budget Presentation,” DMG noted

 that its budget assumptions for the Arizona market—from which DMG divested in 2016—were

 informed by $9.1 million in anticipated revenue from “RAF [risk adjustment factor]

 improvement” for its “senior premiums.” In turn, these assumptions rested on, inter alia, a

 “projected increase due to implementation of enhanced processes and maturation of existing

 programs implemented in 2012 and 2013.” The deck also noted that an unanticipated capitation



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 rate recalibration had undermined these revenue projections, requiring “significant effort . . . to

 achieve budgeted HCC/RAF.” A July 2015 deck, “HCP Business Development Update,”

 appears to confirm the success of these efforts: “Expecting significant RAF adjustments for

 2014.”

          228.   DMG also pressures physicians to increase the quantity of diagnoses they submit

 with little concern for the accuracy of those diagnoses. DMG applies this pressure through a

 combination of: (1) aggressive coding training; (2) detailed reporting on physician coding

 practices; and (3) financial incentives. Notably, DaVita includes risk-adjustment metrics as a

 line-item in physician compensation.

          229.   First, physicians are pressured to attend training seminars about risk adjustment

 coding. For example, in the 2013 spreadsheet “HCP CA: 3 Year Growth Strategy,” discussed

 above, one strategy for revenue improvement was to “standardize HCC education for physicians

 and staff and provide incentive.” Another 2013 deck discussing the Nevada market noted that

 “122 clinicians completed HCC enrichment training.” These trainings focus almost exclusively

 on capturing the most lucrative diagnosis code possible, not on correcting known errors.

          230.   Second, DMG calculates and reviews the average risk adjustment score for each

 physician on a monthly basis. DMG reviews these scores before and after physician training

 sessions to ensure that the training had its desired effect—driving up risk adjustment scores.

          231.   Third, DMG financially incentivizes physicians to increase their risk scores.

 Until approximately 2015, physician compensation calculations included a specific line item for

 “RAF improvement,” based on the average risk score for the physician’s patients. In 2015,

 DMG tried to move away from explicitly rewarding physicians for RAF improvement, but the

 physicians who were generating significant risk adjustment revenue rebelled. Accordingly, an



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 attempt was made to create a compensation scheme that had the same effect of compensating

 physicians based on their risk scores but did not do so directly. DMG was unable to devise such

 a methodology. Instead, physicians continue to be compensated based on their risk adjustment

 scores, although the relevant line item now has an innocuous title to obscure the true purpose of

 the payment.

        232.    DMG has also invented other means by which to financially incentivize

 physicians to improve risk adjustment scores. A July 2014 “Monthly Dashboard” report from

 the California market contains an “HCC Improvement Plan” outlining “PCP [primary care

 physician] Engagement Strategies.” These strategies included: “Maximize New Patient

 Incentive Program,” “Re-evaluate PCP Contracts,” and “Expand Attestation Incentive.”

 Attestations are documents filled out after a patient visit—often many months later—that purport

 to amend the medical record to reflect information that the physician ostensibly inadvertently left

 out of the contemporaneous documentation, with the goal of claiming additional risk

 adjustments. Such addenda to medical records are invalid support for a diagnosis unless they

 comply with strict requirements that are designed to ensure they reflect the care provided and

 diagnoses reached during the face-to-face encounter.

        233.    In addition to currently incentivizing its physicians to increase their submitted

 diagnoses, DaVita is also aware that HCP/DMG engaged in upcoding before it was acquired by

 DaVita in 2012. A reserve of $600 million was placed into escrow following the acquisition

 based on the recognition that repayments would be due to the government if the upcoding were

 discovered and stopped. In a voicemail left by Thiry for Relator on November 19, 2013, Thiry

 acknowledged as much, commenting that Bob Margolis—the CEO of HCP at the time of its sale




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 to DaVita—“never really internalized that [HCP] hit the numbers because two-thirds of [its]

 profit growth was from RAF scores and then adding very modest growth around that.”

        234.    In the same message, Thiry stated that, under DaVita’s watch, HCP/DMG has

 “got to be a lot more nimble and drive profit growth in other ways.” Thiry did not follow his

 own directive, however. In subsequent conversations in front of Relator, Thiry disclosed that

 DMG’s continued revenue growth was due to risk adjustment “upcoding.”

        235.    Relator also has been told that defendant Regal Medical Group aggressively

 upcodes diagnoses for patients enrolled in Medicare Advantage plans to maximize both Regal’s

 and Heritage’s risk adjustment payments. In fact, Relator has heard from a former Heritage

 executive who joined DaVita that not only do Heritage and Regal pressure their physicians to

 upcode, but Heritage’s CEO, Dr. Richard Merkin personally reviews individual patient medical

 records to add new diagnoses that were not recorded by the treating physician.

        236.    In making risk adjustment payments to the MA Defendants, CMS relied on their

 underlying attestations that the diagnoses they submitted for payment were properly supported

 by medical records. In specific instances in which CMS learns that certain diagnoses are invalid,

 CMS recalculates the risk scores and adjusts associated payments to Medicare Advantage plans

 to avoid overpayment. Had CMS been made aware of the upcoding by the MA Defendants, it

 would not have made risk adjustment payments associated with the unsupported diagnoses and

 would have recovered any payments already made based on the upcoded diagnoses.


        C.      DaVita Submits Claims for Laboratory Services Performed Without a Valid
                Physician Order

        237.    As described above, DaVita, through two separately incorporated but wholly

 owned clinical laboratories, offers lab services to dialysis patients.



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         238.    Payments for lab services related to monitoring and to treating a patient’s ESRD

 are bundled in the single ESRD payment. However, ESRD patients frequently have other

 chronic conditions that require treatment. A patient’s physician may order additional tests to

 monitor and treat these conditions, and such tests are separately payable by Medicare. For the

 convenience of the patient, a dialysis center, such as DaVita, may draw blood and process these

 additional tests and bill payors for them separately, by adding the AY modifier to the procedure

 code listed on the bill.

         239.    To be “medically reasonable and necessary,” and thus payable by Medicare, such

 orders for labwork must: (1) bear a physician or appropriate non-physician practitioner’s

 signature; and (2) be ordered by the patient’s treating physician or non-physician practitioner for

 the monitoring or treatment of a patient’s non-ESRD condition.

         240.    DaVita was fully aware of these requirements for billing laboratory services.

         241.    DaVita regularly submits claims for payment on lab services despite knowing

 these requirements are not met. If CMS were aware of these deficiencies, it would not pay the

 claims and would claw back any funds it had already paid based on such deficient claims.

         242.    Around 2005, while DaVita was completing its acquisition of Gambro, Gambro

 was in the process of transitioning to a laboratory billing system known as “Esig,” which traced

 whether there was a valid, signed physician order for the labwork at issue. If the order was not

 signed, the Esig system would not bill the government or commercial payor at issue for the

 laboratory services.

         243.    At that time, DaVita’s lab billing system did not determine whether there was a

 validly signed physician order to support a claim for laboratory services. After acquiring

 Gambro, DaVita considered expanding the Esig billing system to all of its dialysis centers but



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 determined it would be “cost prohibitive” due not just to the cost of installing new software, but

 also to the labwork that would go unpaid when the rules were followed. As DaVita has

 expanded over the last 11 years, new and refurbished centers were brought online using DaVita’s

 legacy system—not Gambro’s Esig system.

        244.    DaVita has now moved all of its dialysis centers to a new computer platform

 known as “Falcon Dialysis,” which, like its legacy system, does not identify and withhold bills

 for labwork for which no signed physician order exists—even though it had control over a

 system that did so.

        245.    As a result, DaVita regularly bills government payors for lab tests based on

 unsigned physician orders.

        246.    In addition, DaVita regularly bills for tests that are not ordered by the patient’s

 treating physician, in contravention of Medicare rules.

        247.    DaVita’s laboratory ordering system is set up in such a way that it often causes

 laboratory services to be performed multiple times, on an ongoing basis, even though the

 ordering physician only intended to order the test a single time.

        248.    At times, particularly when monitoring a dialysis patient’s non-ESRD conditions,

 a physician will want “one-off” labwork completed, i.e., a one-time test that there is no medical

 reason to repeat. DaVita’s lab system, however, is designed to automatically treat all lab orders

 placed by physicians as “standing orders,” meaning that they will be repeatedly conducted

 repeatedly at regular intervals until an order to stop them is placed. Physicians frequently do not

 understand that this is the case. Even if they do, DaVita intentionally set up its system to require

 additional steps for physicians to adjust the default settings to make their orders “one-off,” rather




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 than repeating. As a result, government payors are frequently billed for labwork for which no

 legitimate physician’s order exists.

        D.      DaVita Rx Submits False Claims and Fails to Submit Refunds for Unused
                Prescriptions

        249.    DaVita Rx routinely submits false claims, and fails to submit required refunds, for

 prescriptions that the patient never needed and did not pick up. This problem is largely a result

 of DaVita Rx’s aggressive auto-refill program that is intentionally designed to make it nearly

 impossible for patients to disenroll.

        250.    DaVita Rx automatically enrolls patients in the auto-refill program, regardless of

 a patient’s need for the service, and it does not provide patients with an explanation of how to

 opt out of enrollment or unsubscribe once they are enrolled. As a result, the auto-refill program

 causes DaVita Rx to regularly dispense unnecessary medications that patients either do not pick

 up or do not need—in many cases because the patients are deceased. This, in turn, causes payors

 to submit false claims for reimbursement to Medicare.

        251.    As noted above, Medicare rules require pharmacies to refund any payments from

 Medicare for erroneously dispensed prescriptions. See CMS Prescription Drug Event Guidance

 for Post Point-of-Sale Claim Adjustments (July 3, 2013) (requiring Part D payors to recoup the

 cost of an erroneously dispensed drug from the dispensing pharmacy and to adjust the claim for

 payment from CMS accordingly). Failure to provide such a refund is a violation of the False

 Claims Act.

        252.    DaVita Rx regularly and knowingly fails to repay Medicare and other government

 payors when it erroneously dispenses drugs.

        253.    DaVita Rx gives the individual clinics where the medications are dispensed little

 incentive to correct these problems. To the contrary, the clinicians and other center staff are


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 encouraged to aggressively pressure patients to join DaVita Rx—often while the patients are

 actively undergoing their dialysis treatment.

          254.   DaVita nationally publishes monthly scorecards for each clinic that are intended

 to (and do) foster an environment of intense competition among clinics to increase DaVita Rx

 enrollments by their patients. These scorecards form a central part of the monthly reviews of

 operating executives for each clinic, which ultimately determine the performance bonus for the

 head of the clinic.

          255.   DaVita is fully aware of DaVita Rx’s illegal actions. In or around the spring of

 2015, John Romer, the interim President of DaVita Rx, found that Josh Golomb, the outgoing

 President, had been overstating the company’s financial performance. DaVita CEO Kent Thiry

 learned of Mr. Romer’s findings, and the company’s Compliance department initiated an internal

 audit. This review found several significant issues, including the fraudulent practices detailed

 above.

          256.   The audit estimated that DaVita Rx should repay the Government $50 to $100

 million. Later, in a voice message dated October 6, 2015, Thiry informed Relator that the

 compliance problems within DaVita Rx led to a “total exposure” of approximately $20 to $60

 million. They identified this exposure because they knew that the Government would demand

 repayment of any funds that were paid out based on the fraudulent practices described above.

 However, it is Relator’s understanding that DaVita voluntarily disclosed only $38 million in

 accruals to the HHS Office of the Inspector General to avoid having to pay back a higher

 amount.




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        E.      Billing for Medically Unnecessary Hospice Care

        257.    In March 2013, DaVita Medical Group acquired Las Vegas Solari Hospice Care,

 a hospice provider in Las Vegas, Nevada.

        258.    As described above, hospice care is only available for terminally ill patients, i.e.,

 those whose life expectancy is 6 months or less. While owned by DaVita, Solari and its policies

 led to the admission of patients who stayed far beyond that anticipated maximum, producing an

 average stay as high as 200 days, meaning that the stays of numerous patients significantly

 exceeded that duration.

        259.    In addition, Solari’s discharge rate reached as high as 20% or more, indicating

 that many of these patients were not in fact terminally ill when they entered hospice care, as

 required by Medicare regulations.

        260.    Solari’s business was sustained by these fraudulent admissions of inappropriate

 patients. The marketing department was known to tell referring physicians, “We’ll take anyone.”

        261.    Further increasing illegitimate admissions, DMG also pressured its employed and

 affiliated physicians to refer patients to Solari. DMG considered a physician’s willingness to

 make such referrals when calculating physician bonuses.

        262.    DaVita knew that Solari regularly billed for unnecessary hospice services.

 Indeed, DaVita and Solari’s own internal audits have shown that admissions were frequently

 unsupported by appropriate medical documentation for long-term hospice care.

        263.    As a result of these audits, DaVita temporarily brought Solari’s admission

 standards into compliance with Medicare rules. When the appropriate standards resulted in a

 reduced number of patients, however, DaVita reinstated the lower standards to keep patient

 counts, and thus revenue, as high as possible.



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        264.    By admitting to Solari patients who are not terminally ill or who otherwise lack

 the requisite medical documentation, and subsequently seeking reimbursement for services

 rendered to these patients from government-funded healthcare programs, DMG has submitted

 false claims for payment in violation of the FCA.

        265.    Additionally, after DMG acquired Solari Hospice in the spring of 2013, DaVita

 pursued the sellers for failing to disclose that Medicare was auditing Solari’s admission practices

 at the time of the acquisition. As a result, DaVita recovered some $16 million from Solari’s

 prior owners. DaVita, however, did not repay this amount to CMS, thereby violating the False

 Claim Act’s reverse false claims provision.

        266.    Ultimately, DMG sold Solari Hospice in September 2016.

        F.      Defendants’ Actions Violate the False Claims Act

        267.    As alleged above, the Defendants’ payments of kickbacks in exchange for

 referrals operate as improper inducements that violate the Anti-Kickback Statute or the Stark

 Law. Any knowing submission of a claim for services resulting from a kickback-tainted referral

 is a false claim within the meaning of the FCA. Defendants also submit or cause the submission

 of false claims within the meaning of the FCA when they submit claims for services knowing

 they are medically unnecessary or otherwise not compliant with CMS rules.

        268.    The DaVita Defendants’ provision of sweetheart deals on vascular access center

 joint ventures to high-referring nephrologists, in order to induce those nephrologists to continue

 referring their dialysis patients to DaVita, operates as an illegal kickback in violation of AKS.

        269.    The DaVita Defendants’ provision of rights of first refusal to Johns Hopkins, and

 the Defendants’ subsequent repurchase of those rights, in exchange for dialysis referrals from

 Hopkins’ nephrologists, likewise operate as illegal kickbacks in violation of AKS. Defendants’



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 payments also violate the Stark Law, as they induce Johns Hopkins physicians to refer their

 patients to DaVita to receive designated health services, such as lab work and prescription drugs.

        270.    The DaVita Defendants also violate the AKS and the Stark Law by purchasing

 Fresenius-owned dialysis clinics and Fresenius-produced dialysis products to induce Fresenius to

 refer its dialysis patients to DaVita Rx—and subsequently seeking reimbursement from

 government payors for drugs obtained by these Fresenius-referred patients.

        271.    Further, the DaVita Defendants’ routine and deliberate waiver of co-pays without

 regard to patients’ financial needs to induce those patients to continue to utilize DaVita’s dialysis

 and prescription services—and to induce those patients’ physicians to continue referring them to

 such services—also operates as an illegal kickback in violation of AKS. To the extent that the

 illegally-induced referrals involved the purchase of prescription drugs, the kickbacks also

 violated the Stark Law.

        272.    The MA Defendants also violate the AKS and the Stark Law by providing

 physicians with myriad inducements—including bonuses, enhanced capitation payments, free

 EHR systems, and the retention of revenues from false risk adjustment claims—to induce the

 physicians to bring their MA patients, and the patients’ corresponding capitation payments, to

 the MA Defendants.

        273.    Addtionally, the MA Defendants violate the FCA by knowingly submitting false

 risk adjustment claims through the Medicare Advantage Plans to CMS, based on their fraudulent

 upcoding, despite their attestations that they are following all applicable rules and only

 submitting supported diagnoses.




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        274.    Finally, the DaVita Defendants violate the FCA by knowingly submitting claims

 for lab services performed without valid physician orders; for unused prescriptions; and for

 medically unnecessary hospice care.

        275.    These false claims, records, statements, and certifications were material to the

 Government’s payments to Defendants. The Government, unaware of the falsity of the records,

 statements, and claims made or caused to be made by Defendants, paid and continues to pay the

 claims that would not be paid but for Defendants’ illegal conduct. Had the Government been

 aware, it would not have made payments on the claims and would have sought repayment of any

 such funds already paid.




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                                              COUNT I
                                    Federal False Claims Act
                               31 U.S.C. §§ 3729(a)(1)(A)–(C), (G)

        276.    Relator realleges and incorporates by reference the allegations made in the

 preceding paragraphs.

        277.    This is a claim for treble damages and penalties under the False Claims Act, 31

 U.S.C. §§ 3729, et seq., as amended.

        278.    By virtue of the acts described above, including on the bases of violations of the

 Anti-Kickback Statute, 42 U.S.C. § 1320a-7b, and the Stark Law, 42 U.S.C. § 1395nn,

 Defendants, their agents, employees, and co-conspirators knowingly presented or caused to be

 presented, false or fraudulent claims to the United States Government for payment or approval,

 in violation of 31 U.S.C. § 3729(a)(1)(A).

        279.    By virtue of the acts described above, including on the bases of violations of the

 Anti-Kickback Statute, 42 U.S.C. § 1320a-7b, and the Stark Law, 42 U.S.C. § 1395nn,

 Defendants, their agents, employees, and co-conspirators knowingly made or used, or caused to

 be made or used, false or fraudulent records or statements material to false or fraudulent claims,

 in violation of 31 U.S.C. § 3729(a)(1)(B).

        280.    By virtue of the acts described above, including on the bases of violations of the

 Anti-Kickback Statute, 42 U.S.C. § 1320a-7b, and the Stark Law, 42 U.S.C. § 1395nn,

 Defendants, their agents, employees, and co-conspirators knowingly made, used, or caused to be

 made or used, false records or statements material to an obligation to pay or transmit money or

 property to the Government, or knowingly concealed or knowingly and improperly avoided or

 decreased an obligation to pay or transmit money or property to the Government, in violation of

 31 U.S.C. § 3729(a)(1)(G).



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        281.    By virtue of the acts described above, Defendants, their agents, employees, and

 co-conspirators conspired with various physicians, patients, competitors, and others to violate 31

 U.S.C. §§ 3729(a)(1)(A)–(C) and (G), including on the bases of violations of the Anti-Kickback

 Statute, 42 U.S.C. § 1320a-7b, and the Stark Law, 42 U.S.C. § 1395nn.

        282.    These false claims, records, statements, and certifications were material to the

 government's payments to Defendants. The Government, unaware of the falsity of the records,

 statements, and claims made or caused to be made by Defendants, paid and continues to pay the

 claims that would not be paid but for Defendants’ illegal conduct. Had the Government been

 aware, it would not have made payments on the related claims and would have sought repayment

 of any such funds already paid.

        283.    By reason of Defendants’ acts, the United States has been damaged, and continues

 to be damaged, in a substantial amount to be determined at trial.

        284.    Additionally, the United States is entitled to the maximum penalty under 31

 U.S.C. § 3729(a)(1), as adjusted for inflation, for each and every violation alleged herein.




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                                              PRAYER

        WHEREFORE, Qui Tam Plaintiff-Relator Dennis Kogod prays for judgment against

 Defendants as follows:

        1.     That Defendants cease and desist from violating the Anti-Kickback Statute, the

 Stark Law, and 31 U.S.C. §§ 3729 et seq.

        2.     That the Court enter judgment against Defendants in an amount equal to three

 times the amount of damages the United States has sustained because of Defendants’ actions in

 violation of the Federal False Claims Act, as well as the maximum allowable civil penalty for

 each violation of 31 U.S.C. § 3729;

        3.     That Relator be awarded the maximum amount allowed pursuant to 31 U.S.C.

 § 3730(d) of the Federal False Claims Act;

        4.     That Relator be awarded all costs of this action, including attorneys’ fees and

 expenses pursuant to 31 U.S.C. § 3730(d); and

        5.      That the United States and Relator receive all such other relief as the Court

 deems just and proper.

                                        JURY DEMAND

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Relator hereby demands trial

 by jury.




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 DATED: October 31, 2017            Respectfully submitted,




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